Gov. Ex. 36
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                                                                                   Page 1

     1                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE NORTHERN DISTRICT OF ILLINOIS

     2                                      EASTERN DIVISION

     3                                                   )

                      IN RE: DEALER MANAGEMENT           ) MDL NO. 2817

     4                SYSTEMS ANTITRUST                  )

                      LITIGATION,                        ) CASE NO. 18 C 864

     5                                                   )

     6

     7

     8                  ORAL AND VIDEOTAPED DEPOSITION OF ROBERT BROCKMAN

     9                    Highly Confidential - Attorneys' Eyes Only

   10                                       January 16, 2019

   11                                             VOLUME 1

   12

   13                   ORAL AND VIDEOTAPED DEPOSITION OF ROBERT BROCKMAN,

   14         produced as a witness at the instance of the
   15         PLAINTIFF(S), and duly sworn, was taken in the
   16         above-styled and numbered cause on the 16th day of
   17          January, 2019, from 9:30 a.m. to 2:56 p.m., via
   18         telephone, before Shauna L. Beach, RDR, CRR, CSR in and
   19         for the State of Texas, reported by machine shorthand,
   20         at the law offices of Gibbs & Bruns, LLP, 1100
   21         Louisiana, Suite 5300, Houston, Texas 77002, pursuant to
   22         the Federal Rules of Civil Procedure and the provisions
   23         stated on the record or attached hereto.
   24

   25


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     GOVERNMENT
       EXHIBIT             215-241-1000 - 610-434-8588 - 302-571-0510 - 202-803-8830
    4:21-CR-009-GCH
          No. 36

                                                                                        FTC-0000970

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         3   AUNDREA K. GULLEY                                                                                                      PAGE
             BRICE WILKINSON                                                     2
         4   Gibbs & Bruns,LLP
                                                                                          Appearances                                          2
             1 100 Louisiana
         5   Suite 5300                                                          3
             Houston, Texas 77002
                                                                                 4 ROBERT BROCKMAN
         6   agulleyggibbsbruns.com
             bwilkinsonggibbsbruns.com                                           5 Examination by Mr. Nemelka                                            9
         7                                                                       6
           FOR THE REYNOLDS AND REYNOLDS COMPANY AND THE WITNESS:
         s                                                                                Signature and Changes                                    164
               MICHAEL P.A. COHEN                                                7
         9     Sheppard Mullin
                                                                                          Reporter's Certificate                               165
               2099 Pennsylvania Avenue
        10     Suite 100                                                         8
               Washington, D.0 20006-6801                                        9
        11     mcohengsheppardmullin.com
        12   FOR AUTHENTICOM, COX AUTOMOTIVE AND ITS NAMED PLAINTIFF            10
             SUBSIDIARIES, MDSC,AUTOLOOP AS A REPRESENTATIVE OF THE             11
        13   VENDOR CLASS:
        14     MICHAEL N. NEMELKA
                                                                                12
               Kellogg Hansen Todd Figel & Frederick                            13
        15     Sumner Square                                                    14
                1615 M Street, N.W., Suite 400
        16     Washington, D.0 20036                                            15
               mnemelkagkellogghansen.com                                       16
        17     jlonggkellogghansen.com
        18   FOR THE DEALERSHIP CLASS PLAINTIFFS:
                                                                                17
        19     PEGGY J. WEDGWORTH                                               18
               ROBERT WALLNER (appearing telephonically)
                                                                                19
        20     JOHN HUGHES
               Milberg Tad ler Phillips Grossman,LLP                            /0
        21     One Pennsylvania Plaza                                           21
                19th Floor
        22     New York, New York 10119                                         22
               pwedgworthgmilberg.com                                           23
        23     rwallner(iiimilberg.com
                                                                                24
        24
        25                                                                      25

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         1           APPEARANCES                                                 1                PLAINTIFF EXHIBITS
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         2 FOR CDK GLOBAL:                                                       2
         3   MARK RYAN                                                                   Exhibit 636 Brockman On the Record publication   25
                                                                                 3
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         4   1999 K Street, N.W.                                                 4        Drive
             Washington, DC 20006-1101                                           5 Exhibit 638 Article Automotive News dated      32
                                                                                          February 19, 2007
         5   mryangmayerbrown.com                                                6
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         7   SCOTT CIIERRY                                                       8 Exhibit 640 Email chain ending with email to  57
             Vice President - General Counsel at The Reynolds                             Ronald Lamb from Bob Brockman dated
         8   and Reynolds Company                                                9        September 20, 2013
                                                                                          REYMDL00200760 - REYMDL00200761
         9   Joseph Long                                                        10        Highly Confidential - Attorneys'
             Kellogg Hansen Todd Figel & Frederick                                        Eyes Only
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             Ben Harwood, Videographer                                          12        Howard Gardner from Robert Schaefer
                                                                                          dated 11/25/2013
        11
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        15                                                                      16        security
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        17                                                                                Eyes Only
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        19                                                                      19        Anenen dated 7/2/2014
        20                                                                                CDK CID 01535307- CDK CID 01535308
                                                                                20        Confidential
        21         Veritext Legal Solutions
                                                                                          Highly Confidential
                       Mid-Atlantic Region                                      21
                     1250 Eye Street NW - Suite 350                                Exhibit 644 Notes - Sales Meeting - July 14, 92
                                                                                22        2014
        22          Washington, D.C. 20005                                                REYMDL00261631 - REYMDL 00261635
        23                                                                      23        Highly Confidential - Attorneys'
                                                                                          Eyes Only
        24                                                                      24
        25                                                                      25


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         1            PLAINTIFF EXHIBITS
             NO.      DESCRIPTION                 PAGE                         1              PROCEEDINGS
         2
             Exhibit 645 Email chain ending with email to 106                  2           THE VIDEOGRAPHER: Good morning. We are on
         3          Ron Workman from Robert Schaefer                           3 the record at 9:30 a.m. on January 16th, 2019. This is
                    dated 1/6/2015
         4          CDK CID 00242098 - CDK CID 00242099                        4 the video recorded deposition of Mr. Robert Brockman in
                    Confidential
         5          Highly Confidential                                        5 the matter of In Re: Dealer Management Systems Antitrust
         6   Exhibit 646 Email chain ending with email to 107
                    Bob Brockman from Robert Schaefer                          6 Litigation in the United States District Court for the
         7          dated January 11, 2015
                    REYMDT.00565070 - REYMDT110565071                          7 Northern District of Illinois in the Eastern Division.
         8          Highly Confidential -
                    Attorneys'Eyes Only                                        8 This deposition is being held at Gibbs & Bruns, LLP,
         9
                                                                               9 located at 1100 Louisiana Street, Suite 5300,in
             Exhibit 647 Data Exchange Agreement 111
        10          REYMDL00014384 - REYMDL00014396                           10   Houston, Texas 77002.
                    Confidential
        11                                                                    11           My name is Ben Harwood, and I'm the
             Exhibit 648 Email chain ending with email to 123
        12          Craig Moss from Dan Agan dated May                        12 videographer present on behalf of Veritext. The court
                     12, 2015
        13          REYMDL00652128 - REYMDL00652133                           13   reporter is Shauna Beach, also present on behalf of
                    Highly Confidential - Attorneys'
        14          Eyes Only                                                 14 Vcritext.
        15   Exhibit 649 Email chain ending with email to 126
                    Tommy Barras from Bob Brockman
                                                                              15           Will counsel please state their appearance
        16          dated August 22, 2015                                     16 and firm affiliation for the record.
                    REYMDT.00044042 - RE.YMDT110044043
        17          Highly Confidential - Attorneys                           17           MR. NEMELKA: My name is Mike Nemelka with
                    Eyes Only
        18                                                                    18 the law firm of Kellogg Hansen Todd Figel & Frederick.
           Exhibit 650 Email to Bob Brockman from Tommy 129
        19        Barras dated July 7, 2017                                   19 I'm here on behalf of Authenticom, Cox Automotive and
                  REYMDL00226199 - REYMDL00226200.002
        20        Highly Confidential - Attorneys'                            20 its named plaintiff subsidiaries, MDSC,Autoloop as a
                  Eyes Only
        21
                                                                              21 representative of the vendor class. And with me today
           Exhibit 651 Email to Bob Brockman from Craig 134
                                                                              22 is my colleague, Joe Long.
        22        Moss dated August 25, 2017
                  REYMDL00720415 - REYMDL00720511                             23           MS. WEDGWORTH: Peggy Wedgworth, Milberg
        23        Highly Confidential - Attorneys'
                  Eyes Only                                                   24 Tadler Phillips Grossman, on behalf of the dealership
        24
        25                                                                    25 class plaintiffs.

                                                                     Page 7                                                                 Page 9
         1              PLAINTIFF EXHIBITS
             NO         DESCRIPTION                      PAGE
                                                                               1             MR.HUGHES: John Hughes, Milberg Tadler
         2                                                                     2 Phillips Grossman on behalf of dealership class
           Exhibit 652 Email to Robert Schaefer from Bob 141
         3        Brockman dated April 14, 2016                                3 plaintiffs.
                  REYMDL00238133                                               4             MS. GULLEY: Andi Gulley, Gibbs & Bruns,
         4        Highly Confidential - Attorneys'
                  Eyes Only                                                    5 for the witness.
         5
           Exhibit 653 Email chain ending with email to 143
                                                                               6             MR. WILKINSON: Brice Wilkinson, Gibbs &
         6        Schaefer from Bob Broclunan dated                            7 Bruns.
                  April 19, 2017
         7        REYMDL00138479                                               8             MR.CHERRY: Scott Cherry, general counsel
                  Highly Confidential - Attorneys'                             9 for Reynolds and Reynolds.
         A        Eyes Only
         9 Exhibit 654 Email to Bob Brockman from Robert 144                  10             MR.COHEN: Michael Cohen, Sheppard Mullin,
                  Schaefer dated November 10, 2015
        10        REYMD100044241 - REYMDL00044242
                                                                              11 for defendant the Reynolds and Reynolds Company and the
                  Highly Confidential - Attorneys'                            12 witness, Mr. Brockman.
        11        Eyes Only
        12 Exhibit 655 Email chain ending with email to 153                   13             MR.RYAN: Mark Ryan from Mayer Brown on
                  Tommy Barras from Bob Brockman                              14 behalf of CDK Global.
        13        dated August 15, 2017
                  REYMDL00263558                                              15             THE VIDEOGRAPHER: Will the court reporter
        14        Highly Confidential - Attorneys'
                  Eyes Only
                                                                              16 please swear in the witness and we may proceed.
        15                                                                    17                 ROBERT BROCKMAN,
           Exhibit 656 Email chain ending with email to 158
        16        Keith Hill from Bob Brockman dated                          18     having been first duly sworn, testified as follows:
                  November 28, 2017                                           19                     EXAMINATION
        17        REYMDL00263619
                  Highly Confidential - Attorneys'                            20 BY MR. NEMELKA:
        18        Eyes Only
        19
                                                                              21      Q. Good morning, Mr. Brockman. My name is Mike
        20                                                                    22 Nemelka. And its my opportunity to ask you some
        21
        22                                                                    23 questions today. Could you please state your full name
        23                                                                    24 for the record.
        24
        25                                                                    25      A. Its Robert Theron Brockman.

                                                                                                                                 3(Pages 6 - 9)
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                                                                Page 10                                                               Page 12
         1    Q. And where do you live?                                    1     Q. (By Mr. Nemelka) And with whom did you meet?
         2    A. Houston.                                                  2 With whom did you meet?
         3    Q. And what is your address?                                 3     A. Andi Gulley, Bryce, Scott Cherry, Michael.
         4    A.                               Houston 77024.              4     Q. Were any attorneys for CDK present?
         5    Q. Do you own property anywhere else?                        5     A. No.
         6           MS. GULLEY: Objection; form.                          6     Q. Was there anybody else from Reynolds present?
         7    A. My wife and I own a townhouse that our son                7     A. Yes. We had a -- one other attorney from
         8 lives in. Its                                                   8 Reynolds.
         9    Q. (By Mr. Nemelka) Do you own property in any               9     Q. And who was that?
        10 other states besides Texas?                                    10     A. John -- I'm blanking on his last name. He
        11           MS. GULLEY: Objection; form.                         1 1 works for Scott Cherry.
        12    A. No.                                                      12     Q. Okay. Any businesspeople from Reynolds present
        13    Q. (By Mr. Nemelka) Does any entity that you have           13 when you prepared for the deposition?
        14 control over own property anywhere else?                       14     A. No.
        15           MS. GULLEY: Objection; form.                         15     Q. Did you talk to anybody at Reynolds about your
        16    A. Reynolds and Reynolds owns two locations in              16 deposition?
        17 Ohio. One is the Reynolds and Reynolds main                    17     A. No. Other than the fact they know that I'm
        18 headquarters, and the other one is a forms manufacturing       18 here.
        19 plant.                                                         19     Q. Correct. Have you ever been deposed before?
        20    Q. (By Mr. Nemelka) Do you own property in Aspen,           20     A. Yes.
        21 Colorado?                                                      21     Q. How many times?
        22           MS. GULLEY: Objection; form.                         22     A. I don't recall the last time. Some time ago.
        23    A. No.                                                      23     Q. Uh-huh. Well, so this isn't your first --
        24    Q. (By Mr. Nemelka) Do you have -- is there                 24 first rodeo, but just a few -- few ground rules to help
        25 property there that you visit from time to time?               25 us get through the day efficiently. I'm going to do my

                                                                Page 11                                                               Page 13
         1           MS. GULLEY: Objection; form.                          1 best not to talk over you, and if you will just let me
         2     A. Yes. There's property that I lease.                      2 finish my question, and then I'll give you time to
         3     Q. (By Mr. Nemelka) That you lease. And who do              3 answer it. So let's try not to talk over each other,
         4 you lease it from?                                              4 okay?
         5           MS. GULLEY: Objection; form.                          5     A. Yes.
         6     A. It's called Mountain Queen, Inc.                         6     Q. And please let me know if you don't understand
         7     Q. (By Mr. Nemelka) Do you have any ownership               7 a question. If you answer, then we'll consider that you
         8 interest in Mountain Queen, Inc.?                               8 understood the question. Okay?
         9     A. No.                                                      9     A. Yes.
        10     Q. Okay. Did you prepare for your deposition               10     Q. Your counsel may object, but you still have to
        1 1 today?                                                        1 1 answer the question unless your counsel instructs you
        1/     A. Yes. I talked to my attorneys and reviewed              1/ not to. And so even though your counsel may object,
        13 exhibits.                                                      13 unless he instructs you not to answer, please still
        14           MS. GULLEY: Stop. Don't reveal the                   14 answer my questions, okay?
        15 subject of-- of attorney-client communication.                 15     A. Yes.
        16     Q. (By Mr. Nemelka) And when did you prepare for           16     Q. I understand that you may have been having
        17 your deposition today?                                         17 some --you've had some health issues, and this is -- so
        18     A. Yesterday and the day before.                           18 this is not an endurance test. If you need a break, you
        19     Q. And how long each day did you meet?                     19 can take one. Okay?
        20     A. I'm sorry, I didn't keep track of the time.             20     A. Yes.
        21     Q. Was it a full day or half day?                          21     Q. I would just ask that, before taking a break,
        22     A. It was probably in between.                             22 if you would -- if you would just finish answering a
        23     Q. So three-fourths of the day, each day?                  23 question if a question is pending. Is that okay?
        24           MS. GULLEY: Objection; form.                         24     A. Yes.
        25     A. Yes.                                                    25     Q. And -- but I'll still plan on trying to take a

                                                                                                                     4(Pages 10 - 13)
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         1 break about every hour, for me as well as for you. But              1     A. Not originally, but later in its existence, it
         2 if you need one in shorter intervals, that's fine.                  2 was called Power.
         3 Okay?                                                               3     Q. And then in August 2006, UCS acquired the
         4     A. Thank you.                                                   4 Reynolds and Reynolds Company; is that right?
         5     Q. Is there any reason that you can't provide                   5     A. It was a different date.
         6 truthful testimony today?                                           6     Q. Different date? It was -- oh, it was in 2006,
         7     A. No.                                                          7 though?
         8     Q. Okay. You graduated from the University of                   8     A. Yes.
         9 Florida, College of Business; correct?                              9     Q. What -- what was the month?
        10     A. Yes.                                                        10     A. October.
        11     Q. Class of 1963?                                              11     Q. October. Thank you. And UCS paid 2.8 billion
        12     A. Yes.                                                        12 in cash; is that right?
        13     Q. And after graduating from the IJniversity of                13     A. Yes.
        14 Florida, you worked at the Ford Motor Company for about            14     Q. And prior to the deal, Reynolds was a public
        15 two years; is that right?                                          15 company, right?
        16     A. Yes, a little short of two years.                           16     A. Yes.
        17     Q. And then after Ford you joined IBM; is that                 17     Q. But with the acquisition, Reynolds became a
        18 right?                                                             18 wholly-owned subsidiary of UCS; correct?
        19     A. Yes.                                                        19     A. It's -- that's not the correct company. It's
        20     Q. And you were a successful salesperson there;                20 called Dealer Computer Services.
        21 correct?                                                           21     Q. And Dealer Computer Services was the --was the
        22     A. Yes.                                                        22 holding company that owned Reynolds?
        23     Q. And I -- I think I understand that you sold                 23     A. Yes.
        24 data processing services, in part; is that right?                  24     Q. Okay. And the top-level holding company of --
        25     A. Yes.                                                        25 of Reynolds is Universal Computer Systems Holdings,

                                                             Page 15                                                                      Page 17
         1     Q. And you were at IBM until about 1970, at which               1 Inc.; is that right?
         2 point you left IBM and founded Universal Computer                   2     A. Yes.
         3 Services, Inc.; is that right?                                      3     Q. And the A. Eugene Brockman Charitable Trust
         4     A. Yes.                                                         4 owns about 96 percent ofthat holding company; is that
         5     Q. And you -- impressively -- taught yourself                   5 right?
         6 computer programming around this time as well; is that              6           MS. GULLEY: Form.
         7 right?                                                              7     A. No. That's not correct. The -- the ownership
         8     A. Yes.                                                         8 structure is different than that.
         9     Q. And eventually, UCS developed and provided                   9     Q. (By Mr. Nemelka) Okay. And what is the
        10 dealership management system software to car                       10 ownership structure?
        1 1 dealerships; is that right?                                       11          MS. GULLEY: Objection; form.
        1/     A. Yes.                                                        12     A. The Universal Computer Systems Holding, Inc.,
        13     Q. And,in fact, you were personally involved in                13 is owned by Spanish Steps.
        14 the programming of some ofthe dealership management                14     Q. (By Mr. Nemelka) Okay. When was Spanish Steps
        15 software that was sold -- licensed to dealers; is that             15 formed?
        16 right?                                                             16     A. I'm sorry. I -- I don't know the answer to
        17     A. Yes.                                                        17 that.
        18     Q. And over the 1980s, 1990s and 2000s, you                    18     Q. And who owns Spanish Steps?
        19 continued to run UCS,right?                                        19     A. The A. Eugene Brockman Charitable Trust.
        20     A. Yes.                                                        20     Q. And what percentage of Spanish Steps does the
        21     Q. UCS served, primarily, large dealerships; is                21 charitable trust own?
        22 that right?                                                        22           MS. GULLEY: Form.
        23     A. Yes.                                                        23     A. Again, I don't know the answer to that. I
        24     Q. And was the DNS that UCS marketed --was it                  24 believe it's, substantially, all.
        25 called the PowerDNS?                                               25     Q. (By Mr. Nemelka) Substan- -- does 96 percent

                                                                                                                         5 (Pages 14 - 17)
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         1 sound about right to you?                                         1 Company.
         2          MS. GULLEY: Objection; form.                             2     Q. (By Mr. Nemelka) Are they the only trustees of
         3     A. Yeah, I -- I can't guess at that.                          3 the trust?
         4     Q. (By Mr. Nemelka) Is it between -- is it -- is              4     A. Yes.
         5 it in the 90s, the percentage?                                    5     Q. And who appointed them as trustees of the
         6           MS. GULLEY: Objection; form.                            6 trust?
         7     A. I believe so.                                              7           MS. GULLEY: Objection; form.
         8     Q. (By Mr. Nemelka) Are there any other owners of             8     A. They were not the original trust company.
         9 Spanish Steps besides the Eugene Brockman Charitable              9 There's been a -- there's -- it was -- the original
        10 Trust?                                                           10 trust company was Bank of Bermuda.
        11           MS. GULLEY: Objection; form.                           11     Q. (By Mr. Nemelka) And who appointed the Bank of
        12     A. Yes.                                                      12 Bermuda as trustee?
        13     Q. (By Mr. Nemelka) And who are they?                        13           MS. MILLEN: Objection; form
        14           MS. GULLEY: Form.                                      14     A. I'm sorry. I can't give you an answer on that.
        15     A. Norman Thomas Barras and Terry Jones. That's              15 I'm not familiar with how trusts --trusts get set up.
        16 all.                                                             16     Q. (By Mr. Nemelka) Could St. Johns Trust Company
        17     Q. (By Mr. Nemelka) That's all? And do they --               17 be removed as the trustee?
        18 their ownership interest is about .8 --is it 0.08                18          MS. GULLEY: Objection; form.
        19 percent? Is that right?                                          19     A. Yes.
        20           MS. GULLEY: Form.                                      20     Q. (By Mr. Nemelka) And who -- who has that
        21     Q. (By Mr. Nemelka) Or 0.008 percent; is that                21 authority to remove them as trustee?
        22 right?                                                           22           MS. GULLEY: Objection; form.
        23     A. It's 8/10ths of a percent.                                23     A. I -- I don't know the name of the person, but
        24           MS. GULLEY: Form.                                      24 there is the -- there is a trust protector.
        25     Q. (By Mr. Nemelka) 8/10ths of a percent,                    25     Q. (By Mr. Nemelka) And who is the trust

                                                              Page 19                                                                  Page 21
         1 correct. And there are no other owners besides those              1 protector?
         2 two and the charitable trust; is that right?                      2     A. I'm sorry. It's an individual. I don't know
         3           MS. GULLEY: Form.                                       3 the person's name.
         4     A. That's correct.                                            4     Q. And who appointed the trust protector?
         5     Q. (By Mr. Nemelka) So 8/10ths of a percent -- so             5           MS. GULLEY: Objection; form.
         6 times that by --by two, and then the rest of it is                6     A. I'm sorry. I -- I don't know.
         7 owned by the charitable trust; is that right?                     7     Q. (By Mr. Nemelka) And can the trust protector
         8           MS. GULLEY: Form.                                       8 be removed?
         9     A. I believe that's correct.                                  9           MS. GULLEY: Objection; form.
        10     Q. (By Mr. Nemelka) So we're talking upwards of              10     A. Again, this is an area of law that I'm -- I'm
        1 1 98 -- 98 percent ofthe -- of the company, right?                1 1 not familiar with.
        1/           MS. GULLEY: Form.                                      1/     Q. (By Mr. Nemelka) And who are the beneficiaries
        13     A. That's correct.                                           13 of the trust?
        14     Q. (By Mr. Nemelka) Okay. And this is an                     14           MS. GULLEY: Objection; form.
        15 offshore trust; correct?                                         15     A. There is myself, my wife, my brother, his wife
        16     A. That's correct.                                           16 and all the charities of Bermuda, United States, United
        17     Q. Where is it based?                                        17 Kingdom.
        18     A. Bermuda.                                                  18     Q. (By Mr. Nemelka) Excuse me. What was that
        19     Q. And when was the trust created?                           19 last one? All charities?
        20           MS. GULLEY: Objection; form.                           20     A. All -- all charities in the United States and
        21     A. 1981.                                                     21 all charities in the United Kingdom.
        22     Q. (By Mr. Nemelka) Who were the trustees of the             22     Q. What does that mean,"all charities"? Every --
        23 trust?                                                           23 every 501c3 organization?
        24           MS. GULLEY: Objection; form.                           24     A. Every one of them is -- is a potential
        25     A. There's a trust company called St. Johns Trust            25 beneficiary.

                                                                                                                        6(Pages 18 -21)
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         1     Q. I see. Does the -- does the trust distribute              1 dealerships; isn't that right?
         2 income to the beneficiaries?                                     2           MS. GULLEY: Objection; form.
         3            MS. GULLEY: Objection; form.                          3     A. I -- I don't know -- or know how to keep track
         4     A. Yes.                                                      4 of exactly what the percentages are, but -- but I would
         5     Q. (By Mr. Nemelka) How often?                               5 say in that general area.
         6            MS. GULLEY: Objection; form.                          6     Q. (By Mr. Nemelka) At Reynolds, the DMS has a
         7     A. It depends upon what charitable project that              7 database component where dealers store their data,
         8 is -- is -- is underway. You know, the only --the only           8 right?
         9 distributions have been to charitable entities.                  9          MS. GULLEY: Objection; form.
        10     Q. (By Mr. Nemelka) Those have been the only                10     A. Yes.
        1 1 distributions? To charitable entities?                         11     Q. (By Mr. Nemelka) And dealers generate a lot of
        12     A. Yes, sir.                                                12 data in the course of operating their business; correct?
        13     Q. Have you -- have you received any charitable --          13     A. Yes.
        14 I mean -- excuse me -- have you received any                    14     Q. Sales transactions, right?
        15 distributions from the trust?                                   15          MS. GULLEY: Objection; form.
        16     A. No.                                                      16     A. Yes.
        17     Q. And how much cash does the trust have?                   17     Q. (By Mr. Nemelka) Vehicle inventory?
        18            MS. GULLEY: Objection; form.                         18     A. Yes.
        19     A. I'm sorry. I don't know.                                 19          MS. GULLEY: Objection; form.
        20     Q. (By Mr. Nemelka) Does the trust have any                 20     Q. (By Mr. Nemelka) Parts inventory?
        21 day-to-day oversight responsibilities of the running of         21          MS. GULLEY: Objection; form.
        22 the Reynolds and Reynolds Company?                              22     A. Yes.
        23            MS. GULLEY: Objection; form.                         23     Q. (By Mr. Nemelka) Information about the
        24     A. No.                                                      24 dealership's customers, right?
        25     Q. (By Mr. Nemelka) You're the chairman and CEO             25          MS. GULLEY: Objection; form.

                                                                 Page 23                                                               Page 25
         1 of Reynolds; correct?                                            1    A. Yes.
         2    A. Correct.                                                   2    Q. (By Mr. Nemelka) And data from their service
         3    Q. And as -- your role as chairman and CEO of                 3 departments; correct?
         4 Reynolds, you have ultimate decision-making authority            4         MS. GULLEY: Objection; form.
         5 with respect to the company's practices and policies; is         5    A. Yes.
         6 that right?                                                      6    Q. (By Mr. Nemelka) And you agree that the data
         7            MS. GULLEY: Objection; form.                          7 that dealers generate in running their business is the
         8    A. Yes.                                                       8 dealer's, right?
         9    Q. (By Mr. Nemelka) Let's talk a little bit about             9          MS. GULLEY: Objection; form.
        10 Reynolds, Mr. Brockman. Reynolds offers dealer                  10    A. Yes.
        1 1 management system software to automotive dealers;              11    Q. (By Mr. Nemelka) You've publicly stated the
        12 correct?                                                        1/ dealers own their data, right?
        13    A. Yes.                                                      13          MS. GULLEY: Objection; form.
        14    Q. And it offers two different type of DMSs:                 14    A. Yes.
        15 ERA-IGNITE and Power; correct?                                  15    Q. (By Mr. Nemelka) And you agree that dealers
        16    A. Yes.                                                      16 should choose who has access to their data, right?
        17    Q. And in the DMS market, CDK is your largest                17          MS. GULLEY: Objection; form.
        18 competitor, right?                                              18    A. Yes.
        19    A. Yes.                                                      19    Q. (By Mr. Nemelka) You've publicly told dealers
        20    Q. It's fair to say that CDK is Reynolds' chief              20 you own your data and choose who you allow access to it,
        21 rival in the DMS market, right?                                 21 right?
        22    A. Yes.                                                      22          MS. GULLEY: Objection; form.
        23            MS. GULLEY: Form.                                    23    A. I'm sorry. I don't remember saying that
        24    Q. (By Mr. Nemelka) And together you control                 24 specific statement.
        25 approximately 75 percent of the DS market for franchised        25          (Exhibit 636 was marked for

                                                                                                                     7(Pages 22 - 25)
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                                                                     Page 26                                                               Page 28
         1             identification.)                                         1            MS. GULLEY: Objection; form.
         2     Q. (By Mr. Nemelka) I've marked Plaintiffs                       2     A. Yes, I see that.
         3 Exhibit 636, which I will hand you. Mr. Brockman, do                 3     Q. (By Mr. Nemelka) So this is consistent with
         4 you recognize this document?                                         4 your public statement that -- that business -- excuse
         5     A. Yes.                                                          5 me -- strike that.
         6     Q. Was this an -- a public advertisement that                    6            This is consistent with your public
         7 you -- that Reynolds issued to the public?                           7 statement that we just looked at, that -- that data that
         8     A. This was done approximately 12 years ago.                     8 dealers generate in operating their business belongs to
         9     Q. And was it issued to the public?                              9 the dealers, right?
        10     A. Yes.                                                         10            MS. GULLEY: Form.
        11     Q. And if you look at the first bullet point                    11     A. Yes. It -- you know, where it says,"You own
        12 there, you say,"You own your data and choose who you                12 your data. Reynolds recognizes" -- I see that
        13 allow access to it," right?                                         13 statement.
        14     A. Yes.                                                         14     Q. (By Mr. Nemelka) Thank you. You can put that
        15     Q. You also told dealers with respect to their                  15 aside.
        16 data, quote,"You're the boss." If you look above that;              16            You're familiar with -- that Reynolds has a
        17 correct?                                                            17 standard DMS contract with its dealers; correct?
        18     A. Yes.                                                         18     A. Yes.
        19     Q. And that's a picture of you, there, on that                  19     Q. And the Reynolds standard DMS contract also
        20 advertisement?                                                      20 recognizes that the dealers own their data; correct?
        21     A. Yes. Good picture, I might add.                              21     A. Yes.
        22     Q. Very nice one.                                               22     Q. It says, quote, Reynolds acknowledges that your
        23            And that's your signature at the end?                    23 business data belongs to you," end quote; correct?
        24     A. Yes.                                                         24            MS. GULLEY: Objection; form.
        25     Q. Identifying you as the chairman and CEO of                   25     A. Yes.

                                                                     Page 27                                                        Page 29
         1 Reynolds?                                                            1     Q. (By Mr. Nemelka) Dealers use a lot of software
         2     A. Correct.                                                      2 applications besides DMS;correct?
         3     Q. You can put that aside.                                       3     A. I wouldn't characterize it as "a lot." They
         4            Reynolds also made similar representations                4 certainly use some.
         5 on its website; correct?                                             5     Q. Applications like customer relationship
         6            MS. GULLEY: Objection; form.                              6 management software, right?
         7     A. Sorry. I'm not familiar with that.                            7            MS. GULLEY: Form.
         8            (Exhibit 637 was marked for                               8     A. Yes.
         9             identification.)                                         9     Q. (By Mr. Nemelka) Inventory management;
        10     Q. (By Mr. Nemelka) I've handed you a document                  10 correct?
        1 1 I've marked as Exhibit -- Plaintiffs Exhibit 637.                  11            MS. GULLEY: Form.
        1/ Mr. Brockman, this is a printout from the Reynolds                  12     A Umm,are you referring to parts inventory or
        13 website. Does that look familiar to you?                            13 vehicle inventory?
        14            MS. GULLEY: Objection; form.                             14            MS. GULLEY: Form.
        15     A. It says it's Reynolds. I'm-- I'm personally                  15     Q. (By Mr. Nemelka) Both. Vehic- -- let's do
        16 not familiar with what goes on our website. That's not              16 vehicle inventory first.
        17 something I pay attention to.                                       17            MS. GULLEY: Form.
        18     Q. (By Mr. Nemelka) And if you look at the                      18     A. Yes.
        19 first -- at the top of the -- of the text of this -- of             19     Q. (By Mr. Nemelka) They use software to help
        20 this webpage, it says, "Your Data, Your Way." Do you                20 them in their service lane; correct?
        21 see that?                                                           21            MS. GULLEY: Form.
        22     A. Yes.                                                         22     A. Yes.
        23     Q. And then it says,"You own your data. Reynolds                23     Q. (By Mr. Nemelka) And their marketing efforts;
        24 recognizes that you need to share that data outside your            24 correct?
        25 dealership." Do you see that?                                       25     A. Yes.

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         1           MS. GULLEY: Form.                                         1     Q. You knew that CDK did let dealers use
         2     Q. (By Mr. Nemelka) And these applications need                 2 independent integrators, right?
         3 access to dealer data to work, right?                               3             MS. GULLEY: Objection; form.
         4           MS. GULLEY: Form.                                         4     A. Again, I'm -- I'm not knowledgeable about what
         5     A. Correct.                                                     5 CDK does or doesn't do in this regard.
         6     Q. (By Mr. Nemelka) And above, we saw that you                  6     Q. (By Mr. Nemelka) In fact, back in 2007, you
         7 publicly told dealers,"You own your data and choose who             7 said that, from a business standpoint, you -- you
         8 you allow access to it." Remember that?                             8 couldn't imagine that that was truly CDK's position,
         9     A. Yes.                                                         9 right?
        10     Q. But that's not quite true, is it, Mr. Brockman?             10     A. I'm sorry. I don't -- I don't remember or
        11           MS. GULLEY: Objection; form.                             1 1 recall -- can you give me more information?
        12     A. I disagree.                                                 12             (Exhibit 638 was marked for
        13     Q. (By Mr. Nemelka) You don't let dealers choose               13             identification.)
        14 who has access to their data, do you?                              14     Q. (By Mr. Nemelka) I've marked this Exhibit
        15           MS. GULLEY: Objection; form.                             15 638 -- Plaintiff's 638, which I've handed you. Ifs --
        16     A. They --the dealers have access to their data,               16 Automotive News article entitled "Question & Answer:
        17 you know, on their own. They can access it through                 17 Deal puts Brockman in the spotlight," dated February
        18 porting facilities that we have.                                   18 9th -- 19th, 2007. Mr. Brockman, do you recognize this
        19     Q. (By Mr. Nemelka) But Reynolds, although it's                19 Automotive News article?
        20 made a lot of exceptions, has taken the position that              20             MS. GULLEY: Objection; form.
        21 dealer -- dealers can't grant access to their data to,             21     A. Not specifically.
        22 for example, independent integrators; is that right?               22             MS. GULLEY: You can take a second to
        23         MS. GULLEY: Objection; form.                               23 review it.
        24     A. We have a program which is called the Reynolds              24     Q. (By Mr. Nemelka) Did you grant an interview to
        25 Certified Interface, which is entered into -- whoever              25 Automotive News around this time, Mr. Brockman?

                                                                Page 31                                                                   Page 33
         1 they want to share data with, that covers protections of            1             MS. GULLEY: Objection; form.
         2 data from a security standpoint.                                    2     A. I believe so.
         3     Q. (By Mr. Nemelka) You don't let independent                   3     Q. (By Mr. Nemelka) And this is an article
         4 integrators, like Authenticom,into the RCI program, do              4 reflecting the contents of that interview; correct?
         5 you?                                                                5             MS. GULLEY: Objection; form.
         6     A. We do not.                                                   6             You haven't offered him the opportunity to
         7     Q. And so if a dealer wanted to grant access to                 7 review it.
         8 their data to Authenticom, you don't allow that, do you?            8             MR.NEMELKA: Andi, please comply with the
         9     A. They're perfectly free to run reports and --                 9 deposition protocol order.
        10 and send those reports in electronic form to                       10     A. I would like to have a little bit of time to
        1 1 Authenticom.                                                      1 1 read it.
        1/     Q. But in terms of access to their data in an                  12     Q. (By Mr. Nemelka) Sure. Do you recognize,
        13 automated way, you don't allow that, do you?                       13 though, this is -- reflects an interview that you gave
        14           MS. GULLEY: Objection; form.                             14 to Automotive News, Mr. Brockman?
        15     A. As far as unattended access, that's correct.                15             MS. GULLEY: Objection; form.
        16 We do not allow that.                                              16     A. If you let me finish reading this back page,
        17     Q. (By Mr. Nemelka) And that's different from                  17 it's got a lot ofinformation on it.
        18 what CDK's position once was; correct?                             18     Q. (By Mr. Nemelka) Sure. I'm -- I'm only going
        19           MS. GULLEY: Objection; form.                             19 to ask you about one -- about one -- one question and
        20     A. I'm not familiar with what CDK's historical                 20 answer.
        21 positions have been on this issue.                                 21             MS. GULLEY: Objection; form.
        22     Q. (By Mr. Nemelka) You don't know what CDK's                  22     A. Okay. What is your question?
        23 practices were?                                                    23     Q. (By Mr. Nemelka) This reflects an interview --
        24     A. They have lots of different practices. I'm                  24 the contents of an interview that you gave to Automotive
        25 not -- I'm not an expert in their -- their practices.              25 News; correct?

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         1            MS. GULLEY: Objection; form.                               1 I'm not familiar with.
         2    A. Yes. That was approximately a month and a half                  2    Q. (By Mr. Nemelka) CDK didn't change that
         3 after the acquisition.                                                3 position, though, until years later, right?
         4    Q. (By Mr. Nemelka) Correct. And if you turn to                    4          MS. GULLEY: Objection; form.
         5 the second page, the question that -- that Automotive                 5          UNIDENTIFIED SPEAKER: Mike, one objection
         6 asked you,"ADP Dealer Services" --now, ADP is now CDK;                6 is good for both defendants, right?
         7 correct?                                                              7          MR.NEMELKA: Yes.
         8    A. Yes.                                                            8          UNIDENTIFIED SPEAKER: Okay, thank you.
         9            MS. GULLEY: Objection; form.                               9          THE WITNESS: I'm sorry. Could you repeat
        10            MR. RYAN: Object to form.                                 10 the question?
        11    Q. (By Mr. Nemelka) "ADP Dealer Services will                     11    Q. (By Mr. Nemelka) Sure. And CDK didn't change
        12 not" -- excuse me,the ADP that's referred to here was                12 that position until years later, though; correct?
        1 3 --the dealer services was spun off and became CDK;                  13          MS. GIJLLEY: Objection; form
        14 correct?                                                             14    A. Again, I've not tracked what ADP has done in
        15            MR.RYAN: Objection.                                       15 this regard. My guess is -- and that's there's been a
        16    A. That's my understanding.                                       16 series of changes.
        17    Q. (By Mr. Nemelka) Right. So it says,"ADP                        17    Q. (By Mr. Nemelka) But in the meantime, before
        18 Dealer Services will not prohibit dealers from providing             18 CDK changed, CDK Reynolds engaged in what you called,
        19 their vendors with a user ID and password to extract                 19 Mr. Brockman, "the data wars"; isn't that right?
        20 data." What are your thoughts about that?                            20          MS. GULLEY: Objection; form.
        21            Do you see that question?                                 21    A. I've not ever used that term, so I don't know
        22    A. Yes.                                                           22 who has.
        23    Q. And you gave an answer. "I don't understand                    23    Q. (By Mr. Nemelka) You've never used the term,
        24 ADP's position. Other than to be obstinate, than to be               24 "data wars"?
        25 opposite, I cant imagine from a business standpoint                  25          MS. GULLEY: Objection; form.

                                                                      Page 35                                                              Page 37
         1 that that's truly their position. And frankly it would                1    A. No. (Inaudible.)
         2 be my opinion that after awhile they probably change                  2    Q. (By Mr. Nemelka) Now, CDK not only had an open
         3 that position." Do you see that?                                      3 system in the sense that it let dealers use independent
         4     A. Yes.                                                           4 integrators, but it also had its own independent
         5     Q. And that accurately reflects what you said?                    5 integrators, like DMI and Integra Link!; correct?
         6             MS. GULLEY: Objection; form.                              6          MS. GIJLLEY: Objection; form
         7     A. Yes.                                                           7    A. Correct.
         8     Q. (By Mr. Nemelka) And so you knew that CDK's                    8    Q. (By Mr. Nemelka) And DMI and Integra
         9 position was that they did not stop dealers from                      9 Link! provided access to the data belonging to Reynolds'
        10 allowing -- they did not stop dealers from using                     10 dealers; correct?
        1 1 independent integrator's automated access to their data;            11         MS. GULLEY: Objection; form.
        P correct?                                                              1/    A. Yes. They -- they hacked our systems
        13             MS. GULLEY: Objection; form.                             13 extensively.
        14     A. No. I don't agree with that. And that's                       14    Q. (By Mr. Nemelka) And Reynolds' dealers would
        15 certainly not what I said. What I said is, "I don't                  15 grant DMI and Integra Link! access to their data by
        16 understand ADP's position. Other than to be obstinate,               16 creating log-in credentials for them, right?
        17 than to be opposite, I can't imagine from a business                 17          MS. GULLEY: Objection; form.
        18 standpoint that that's truly their position. And                     18    A. Yes.
        19 frankly it would be my opinion that after awhile they                19    Q. (By Mr. Nemelka) And then DMI and Integra
        20 probably change that position."                                      20 Link! would then provide the dealer data to third-party
        21     Q. (By Mr. Nemelka) And CDK did change their                     21 vendors; correct?
        22 position on that, didn't they?                                       22    A. Yes.
        23             MS. GULLEY: Objection; form.                             23    Q. Including OEMs,right?
        24     A. It's my understanding that -- that they have                  24          MS. GULLEY: Form.
        25 made changes. Now, exactly what changes they've made,                25    A. Yes.

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                                                                 Page 38                                                               Page 40
         1    Q. (By Mr. Nemelka) And when I say "OEMs," I mean             1     A. No. It's not the only time, but it -- it is --
         2 the car manufacturers, like Ford, Chevy, Toyota, right?          2 to characterize it as something that happens a lot, it's
         3          MS. GULLEY: Form.                                       3 not. It's rare. And this is certainly the first time
         4    A. That's correct.                                            4 that I had ever met Steve Anenen.
         5    Q. (By Mr. Nemelka) You understand that's what I              5     Q. And then you write -- well, you said,"As I
         6 mean, right?                                                     6 said in our initial meeting on the subject at NADA,I
         7    A. Yes.                                                       7 believe that there some attractive opportunities here
         8    Q. Mr. Brockman, I've handed you what has been                8 that in the longer term can be quite significant." Do
         9 previously marked as Plaintiffs Exhibit 442. I'll                9 you see that?
        10 describe it and then you can look at it. This is an             10            MS. GULLEY: Objection; form.
        1 1 email from you, Bob Brockman, to Ron Workman and Steve 1 1            A. Yes.
        12 Anenen, dated Sunday, June 10th, 2007. Do you see that?         12     Q. (By Mr. Nemelka) So let's turn the page to
        13          MS. GT TUN: Objection; form.                           1 3 the document that you attached. If you could go to the
        14    A. Yes.                                                      14 last section on Data Services, on the second page. And
        15    Q. (By Mr. Nemelka) And to this email, you                   15 you have -- having read this -- this attachment, this
        16 attach -- you made an attachment; correct?                      16 was proposing a joint venture between CDK and Reynolds
        17          MS. GULLEY: Form.                                      17 for the service of extracting data from dealership
        18    Q. (By Mr. Nemelka) Have you finished reading it,            18 systems; correct?
        19 Mr. Brockman?                                                   19            MS. GULLEY: Objection; form.
        20    A. Yes.                                                      20     Q. (By Mr. Nemelka) Mr. Brockman?
        21    Q. Thank you. So if you look at the email that               21     A. Yes.
        22 you -- you sent this email to Mr. Workman and                   22     Q. And ADP, meaning CDK,would contribute the DMI
        23 Mr. Anenen; correct?                                            23 business that we just discussed; correct?
        24    A. Yes.                                                      24            MS. GULLEY: Form.
        25    Q. Steve Anenen was the CEO of CDK?                          25     A. Yes.

                                                                 Page 39                                                               Page 41
         1     A. That's correct.                                           1     Q. (By Mr. Nemelka) And then Reynolds would
         2     Q. And Ron Workman was a senior vice-president               2 contribute its technology for accessing the Reynolds DMS
         3 there?                                                           3 systems; correct?
         4     A. Yes.                                                      4          MS. GULLEY: Form.
         5     Q. And in the third -- third line down, you write,           5     A. That's what was under consideration, but it --
         6 "Please see the attached thoughts regarding our mutual           6 I think it's -- it's correct to add that -- that this
         7 opportunities." Do you see that?                                 7 was a proposed process that never occurred. And
         8     A. Yes.                                                      8 further -- on further examination, subsequent to this, I
         9     Q. And then you said -- then you write, "As I said           9 decided that it would be a wrong thing to do.
        10 at our initial meeting on the subject at NADA" --what           10     Q. (By Mr. Nemelka) Why would it be a wrong thing
        1 1 is NADA?                                                       1 1 to do?
        1/     A. It's the National Auto Dealers Association.              1/     A. I don't believe that accessing dealership
        13     Q. And what does that mean, "at NADA"?                      13 systems to extract data in the manner that DMI and that
        14     A. There's an annual convention and trade show.             14 their other entities were doing it to be proper.
        15     Q. Is it once a year?                                       15     Q. But at least here, you had proposed talking
        16     A. Yes.                                                     16 about forming a joint venture to do that; correct?
        17     Q. And at this convention, you -- you met with              17            MS. GULLEY: Objection; form.
        18 Mr. Workman?                                                    18     A. What I'm doing is -- is I'm -- I'm commenting
        19     A. Yes.                                                     19 on -- on their proposals.
        20     Q. And at these annual conventions, you frequently          20     Q. (By Mr. Nemelka) You described it as
        21 meet -- meet with executives from CDK; correct?                 21 an attractive opportunity that could be quite
        22          MS. GULLEY: Objection; form.                           22 significant in your email, didn't you?
        23     A. No.                                                      23            MS. GULLEY: Objection; form.
        24     Q. (By Mr. Nemelka) Is this the only time you               24     A. On further examination, you know, that was not
        25 ever met with a CDK executive at NADA?                          25 the case.

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         1     Q. (By Mr. Nemelka) And would other competitors                 1 right?
         2 to this data services joint venture be allowed to access            2           MS. GULLEY: Objection; form.
         3 the data for Reynolds and -- and CDK dealers, or only               3      A. Again, that was in response to their proposal.
         4 this joint venture?                                                 4 And again -- I repeat again, this project went nowhere.
         5            MS. GULLEY: Objection; form.                             5           (Exhibit 639 was marked for
         6     A. Again, this was an early-on idea which was not               6            identification.)
         7 followed up on. Specifically, we did not do anything in             7      Q. (By Mr. Nemelka) I've handed you Plaintiffs
         8 this regard.                                                        8   Exhibit 639. And, Mr. Brockman, I'll represent to you
         9     Q. (By Mr. Nemelka) The thought was, though, that               9 that the metadata for this document states that, as
        10 only the Reynolds and CDK joint venture would be able to           10 produced by -- by your counsel, that this came from your
        1 1 provide data access to Reynolds and CDK,not others;               1 1 custodial file and that it was -- date last modified was
        12 correct?                                                           12 July 29th, 2012. And the file name is "ADP Data
        13            MS. GULLEY: Objection; form.                            13 Agreement Talking Points." Okay?
        14     A. That -- that was the --the original proposal                14           MS. GULLEY: Objection; form.
        15 from CDK.                                                          15      Q. (By Mr. Nemelka) Did you hear that,
        16     Q. (By Mr. Nemelka) So competitors like                        16 Mr. Brockman?
        17 Authenticom would not be able to compete with this joint           17      A. Yes.
        18 venture, right?                                                    18      Q. Okay. Do you recognize these as talking points
        19            MS. GULLEY: Objection; form.                            19 that you created for ADP Data Agreement?
        20     A. From a thought standpoint, this -- this project             20           MS. GULLEY: Objection; form.
        21 never got that far.                                                21      A. Yes. These were talking points that would take
        22     Q. (By Mr. Nemelka) But you said that was the                  22 place between myself and ADP.
        23 original conception that CDK --                                    23      Q. (By Mr. Nemelka) And who at ADP?
        24            MS. GULLEY: Objection --                                24      A. Steve Anenen.
        25            MR. NEMELKA: Let me finish my question,                 25      Q. Is this a phone call?

                                                                    Page 43                                                             Page 45
         1 Andi.                                                                           MS. GULLEY: Objection; form.
         2     Q. (By Mr. Nemelka) You said that was the                       2      A. Yes.
         3 original proposal from CDK,though, right?                           3      Q. (By Mr. Nemelka) And was it a phone call
         4          MS. GULLEY: Objection; form.                               4 around the time of July 29th, 2012?
         5     A. Again, there was -- there was another document,              5           MS. GULLEY: Form.
         6 which I don't have and I don't know whether it exists,              6      A. I don't know what date -- I remember creating
         7 but it's -- it certainly did exist, where what ADP was              7 this document, thinking that a phone call was going to
         8 proposing was -- was laid out. And this was an initial              8 be imminent It was not imminent It was at some
         9 response. Again -- I'll repeat again, this project did              9 considerable length of time afterwards.
        10 not go anywhere. It did not happen.                                10      Q. (By Mr. Nemelka) "Considerable length of
        11     Q. (By Mr. Nemelka) At this time, were you --                  1 1 time," meaning a few weeks or months?
        1/ when you were considering this joint venture, DMI was              12      A. Months.
        13 extracting data for vendors from Reynolds DMS; correct?            13      Q. A few months? And these are the talking points
        14            MS. GULLEY: Objection; form.                            14 that you prepared for that phone conversation with
        15     A. At this particular point in time, this --this               15 Mr. Anenen?
        16 was approximately seven months after the acquisition               16      A. Yes.
        17 of-- of a very, very large company. It was extremely               17      Q. And did you deliver these talking points?
        18 busy in all kinds of operational details, and for me to            18           MS. GULLEY: Form.
        19 know what was going on with Reynolds systems and outside 19                A. I'm not sure what all points were actually
        20 third parties at that point in time was impossible. The            20 covered. These were the points that I wanted to cover.
        21 best I could have would be, you know, hazy knowledge,              21 Whether I got them all done or not, I -- I don't think I
        22 but not, you know, absolute knowledge.                             22 got them quite done.
        23     Q. (By Mr. Nemelka) Well, here you wrote that CDK              23      Q. (By Mr. Nemelka) I just want to ask you about
        24 would contribute the DMI business to this new co-entity            24 a few of the bullet points here, Mr. Brockman. The
        25 along with the technology for accessing DMS systems,               25 first one you say, "Unattended remote access to Reynolds

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         1 systems is going to cease." Do you see that?                       1 statement.
         2     A. Yes.                                                        2     Q. And what was his general response to your
         3     Q. So 2012, unattended remote access was still                 3 proposal here?
         4 happening on the Reynolds system, right?                           4           MS. GULLEY: Objection; form.
         5     A. That's correct.                                             5     A. I would say it was -- it didn't make a lot of
         6     Q. Including by CDK; correct?                                  6 progress. You know, Steve Anenen is a very, very nice
         7    A. That's right. CDK -- or CDK subsidiaries were                7 guy, and he's a person that is unlikely to say no, you
         8 identified as some of the most, you know --they were               8 know. He's just -- he's not that kind of person. But
         9 the worst hackers out there. And -- and this first                 9 he did not make a positive response.
        10 line, "Unattended remote access to Reynolds systems is            10     Q. (By Mr. Nemelka) Meaning he said that CDK
        1 1 going to cease," that was not a pleasant statement.              1 1 would continue to access the Reynolds system?
        12 That was a -- a statement of fact. The fact was pretty            12           MS. GULLEY: Objection; form.
        13 ugly.                                                             13     A. No. He did not answer that specific issue.
        14     Q. And -- and the data agreement, the document is             14 Again, he's a very nice guy.
        15 titled "Data Agreement." And what was the data                    15     Q. (By Mr. Nemelka) Did he give you any
        16 agreement that you envisioned entering into with CDK?             16 indication one way or the other whether he was
        17           MS. GULLEY: Objection; form.                            17 interested in engaging in the discussions further, after
        18     A. The -- the data agreement involved a -- a                  18 this phone call?
        19 phased shutdown, as opposed to an abrupt stop.                    19           MS. GULLEY: Objection; form.
        20           MS. GULLEY: Objection; form.                            20     A. At -- at that point, he did not.
        21     Q. (By Mr. Nemelka) And is this a call that was               21     Q. (By Mr. Nemelka) At this time, Reynolds was
        22 initiated by you, or Mr. Anenen?                                  22 using Authenticom for -- strike that.
        23     A. I -- I had requested a call. Whether he called             23           Reynolds has its own software application,
        24 me or I called him, I don't recall.                               24 separate from the DMS; correct?
        25     Q. You requested the call?                                    25     A. I wouldn't say separate from the DMS,but

                                                                   Page 47                                                               Page 49
         1           MS. GULLEY: Objection; form.                             1 there's some things that we do that are not totally
         2     A. Yes.                                                        2 related to our own DMS.
         3     Q. (By Mr. Nemelka) And this is the first time                 3     Q. Right. Software solutions that you -- that
         4 that you had discussed with Mr. Anenen having CDK stop             4 dealers use, separate from the DMS; correct?
         5 accessing the Reynolds systems?                                    5          MS. GULLEY: Objection; form.
         6           MS. GITUN: Objection; form.                              6     A. It's a very, very small, you know, part of our
         7     A. I don't recall whether or not it was the first              7 business.
         8 time or not.                                                       8     Q. (By Mr. Nemelka) And at this time, Reynolds
         9     Q. (By Mr. Nemelka) And what did Mr. Anenen say                9 was using Authenticom for the data needs for those
        10 in response?                                                      10 applications; correct?
        11     A. It was a rather unusual call. There was                    11          MS. GULLEY: Objection; form.
        1/ about -- it was an hour-long call, and there was about            1/     A. Yes. Again, the particular data that we're
        13 15 minutes worth of this active discussion and then 45            13 talking about has to do with service reminder cards,
        14 minutes of -- ofjust unproductive conversation.                   14 principally, and it's a very small thing. And we use
        15     Q. What does that -- what -- why was it                       15 Authenticom from an expediency standpoint to, you know,
        16 unproductive?                                                     16 get us the data.
        17     A. Mr. Anenen did not want to address the issues.             17     Q. (By Mr. Nemelka) And this was data from CDK
        18 He wanted to talk about other things.                             18 DMS; correct?
        19     Q. So on these topics, the call lasted about 15               19     A. Yes.
        20 minutes?                                                          20     Q. And if you go to the next page, you have a --
        21     A. Uh-huh. (Witness answers affirmatively.)                   21 you have a -- a bullet point here where it starts with
        22     Q. And what -- what did he respond -- how did he              22 "batch type data." Do you see that?
        23 respond when you told him that unattended remote access           23     A. Yes.
        24 to Reynolds systems is going to cease?                            24     Q. It says, "Batch type data that Authenticom (or
        25     A. He didn't make a specific reply to that                    25 some other Reynolds agent)" -- so let me stop there. So

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         1 you considered Authenticom a Reynolds agent in                        1     A. Yes.
         2 collecting the data; is that right?                                   2     Q. (By Mr. Nemelka) What did you mean by that?
         3     A. I don't --                                                     3           MS. GULLEY: Objection; form.
         4           MS. GULLEY: Objection; form.                                4     A. What the focus in this particular passage is --
         5     A. I don't know if we would consider Authenticom                  5 and that's that we'd want to have a contract directly
         6 an agent. They -- they provided a service.                            6 with the -- the owner ofthe data.
         7    Q. (By Mr. Nemelka) You say, "Batch type data                      7     Q. (By Mr. Nemelka) Well, the contract with the
         8 that Authenticom (or some other Reynolds agent) collects              8 owner of data? That would be the dealer, right?
         9 from ADP sites for Reynolds to use in marketing programs              9           MS. GULLEY: Objection; form.
        10 that it sells to the dealer would require that this data             10     A. Correct.
        1 1 is used for no other purpose." Do you see that?                     11     Q. (By Mr. Nemelka) And so you would consider
        12           MS. GULLEY: Objection; form.                               12 those who go and collect the data on your behalf as your
        13     A. Yes.                                                          13 agents; correct?
        14     Q. (By Mr. Nemelka) So you envisioned that                       14           MS. GULLEY: Objection; form.
        15 Reynolds would continue to use Authenticom even after                15     A. I think what -- what were talking about here
        16 this proposed data agreement with CDK; is that right?                16 is -- and that's that, you know, we don't use agents.
        17           MS. GULLEY: Objection; form.                               17 What we want to do is we want to have direct contracts
        18     A. I don't think that, you know, I would                         18 with the collector ofthe data and also the owner of the
        19 characterize this paragraph in that way. There's no                  19 data.
        20 suggestion here its long term. Anytime that you have a               20     Q. (By Mr. Nemelka) Well, what you write here is
        21 process set up for a collection of data, to tear it up,              21 that "The use of a 3rd party acting under contract as an
        22 you know, involves some effort. And what we're talking               22 agent of ADP or Reynolds is not an issue as long as the
        23 about that's described in this document here, there's                23 specific RCI agreement is directly between us." Do you
        24 things to be done short term. There is no implication                24 see that?
        25 here that long term -- you know, longer than what the                25           MS. GULLEY: Objection; form.

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         1 immediate, you know, time frame would be -- that we                   1     A. Well, I -- I think that's -- that states
         2 would continue to use Authenticom.                                    2 clearly that we -- the agreement we want is -- we want
         3     Q. (By Mr. Nemelka) This is 2012, right?                          3 one directly between us and -- and not, you know,
         4           MS. GULLEY: Objection; form.                                4 with any use of an agent.
         5     A. Yeah.                                                          5     Q. (By Mr. Nemelka) And "an agent" being those
         6     Q. (By Mr. Nemelka) Reynolds continued to use                     6 that go and collect data on your behalf; correct?
         7 Authenticom clear to -- through 2017, right?                          7           MS. GULLEY: No.
         8           MS. GULLEY: Objection; form.                                8           Objection; form. I'm sorry. It was -- I'm
         9     A. I'm not aware of-- of how long that -- that                    9 sorry.
        10 occurred.                                                            10           MR. NEMELKA: That's improper to answer the
        11     Q. (By Mr. Nemelka) Certainly, you know, for                     1 1 question. I asked the witness.
        1/ years after this, Reynolds continued to use Authenticom,             1/           MS. GULLEY: I'm so sorry, Mike.
        13 right?                                                               13           MR. NEMELKA: It's okay.
        14           MS. GULLEY: Objection; form.                               14           MS. GULLEY: It was not -- not intentional.
        15     A. Again, I'm not aware of what's going on.                      15           UNIDENTIFIED: Same objection.
        16     Q. (By Mr. Nemelka) All right, well --                           16           MR. NEMELKA: We'll just leave the record
        17     A. In -- in the -- in that particular regard.                    17 like that.
        18     Q. We have some documents on that.                               18           MS. GULLEY: Well, he can answer the
        19           MS. GULLEY: Objection; to the sidebar.                     19 question.
        20     Q. (By Mr. Nemelka) You said "agents." You say                   20           MR.NEMELKA: Sure.
        21 here,"The use of a 3rd-party acting under contract as                21     Q. (By Mr. Nemelka) Do you need me to repeat the
        22 an agent of ADP or Reynolds is not an issue as long as               22 question, Mr. Brockman?
        23 the specific RCI agreement is directly between us." Do               23     A. I need to reread this.
        24 you see that?                                                        24     Q. My simple question was -- is that you have here
        25           MS. GULLEY: Objection; form.                               25 a section called "Use of Agents." You say, "The use of

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         1 a 3rd party acting under contract as an agent of ADP or               qualified as -- as temporary access. I think it's
         2 Reynolds is not an issue as long as the specific RCI              2 important that, from a transitional standpoint, that's
         3 agreement is directly between us -- either of us would            3 where that's been used.
         4 take responsibility for their agents." Do you see that?           4      Q. (By Mr. Nemelka) And it was used with CDK's
         5           MS. GULLEY: Form.                                       5 access to the Reynolds system; correct?
         6    A. Yes.                                                        6            MS. GULLEY: Objection; form.
         7    Q. (By Mr. Nemelka) And my question is that the                7      A. The answer to that is no. The -- the only time
         8 agents that you're referring to are those that would go           8 that that was used is -- or that process was used was in
         9 and collect the data on your behalf; correct?                     9 the situation where everybody's agreed that they're
        10    A. I think I'm referring to DMI,Integra.                      10 going to stop hacking. They're going to stop being
        11    Q. Okay. Did you know how Authenticom accessed                1 1 bandits. They're going to get straight. And, you know,
        12 data on a CDK system?                                            12 we've seen fit to facilitate an orderly stand-down, in
        13           MS. GULLEY: Objection; form                            1 3 which case, you know, we issued user IDs that were
        14    A. No.                                                        14 temporary in nature.
        15    Q. (By Mr. Nemelka) Did you know that they were               15      Q. (By Mr. Nemelka) That was in 2000 --
        16 issued log-in credentials,just like DMI and Integra              16            MS. GULLEY: Are you finished Mr. Brockman?
        17 Link! were for Reynolds?                                         17            THE WITNESS: No.
        18         MS. GULLEY: Objection; form.                             18      A. That's completely different than, you know,
        19    A. I'm not aware of that.                                     19 what my connotation of whitelist is. Whitelist, in my
        20           MS. GULLEY: Are you at a stopping point,               20 terminology, has to do with email.
        21 Mike?                                                            21            I have a lot of problems with spam email.
        22           MR. NEMELKA: Sure.                                     22 And one of the ways that you deal with spam email is --
        23           MS. GULLEY: Let's take a break.                        23 is you decide what select group of people you'll accept
        24           THE VIDEOGRAPHER: The time is 10:25 a.m., 24 email addresses from, and you -- you create a list. And
        25 and we're off the record.                                        25 that's what's called a "whitelist." You know,that's --

                                                                  Page 55                                                               Page 57
         1           (Short recess 10:25 to 10:50 a.m.)                          that's my knowledge of the use of the term.
         2           THE VIDEOGRAPHER: The time is 10:50 a.m.                2      Q. (By Mr. Nemelka) So where Reynolds issued
         3 We're back on the record.                                         3 these protected user IDs for CDK,that was -- that you
         4            EXAMINATION (Continuing)                               4 were referring to, was that in connection with the 2015
         5 BY MR. NEMELKA:                                                   5 wind-down agreement?
         6    Q. Mr. Brockman, have you heard of the phrase                  6            MS. GULLEY: Form.
         7 "whitelisting"?                                                   7      A. That was one of the factors in that wind-down
         8           MS. GULLEY: Objection; form.                            8 agreement. It was -- again, first and foremost, that
         9    A. In -- in recent years, yes.                                 9 they're -- they're going to stop hacking. They're going
        10    Q. (By Mr. Nemelka) The -- where -- as I think of             10 to stop being bandits. And this is a temporary
        1 1 the term "whitelisting," that's where Reynolds issues a         1 1 situation, you know, where it's a wind-down.
        1/ protected user ID that will be exempt from Reynolds'             12      Q. (By Mr. Nemelka) Reynolds did it for CDK long
        13 security processes.                                              13 before 2015, didn't it?
        14           MS. GULLEY: Object- -- hold on. Let him                14            MS. GULLEY: Objection; form.
        15 finish.                                                          15      A. Not to my knowledge.
        16    Q. (By Mr. Nemelka) Is that -- is that how you                16      Q. (By Mr. Nemelka) Okay. I've handed you
        17 associate the term?                                              17 Exhibit -- Plaintiffs Exhibit 640.
        18           MS. GULLEY: Objection; form.                           18           (Exhibit 640 was marked for
        19    A. No.                                                        19             identification.)
        20    Q. (By Mr. Nemelka) Reynolds did allow the                    20      Q. (By Mr. Nemelka) And I'll describe it and then
        21 feeding of data through protected user IDs that were             21 you can read it. It's an email from you, Mr. Brockman,
        22 exempt from the secur- -- Reynolds' security processes,          22 dated Friday, February 20, 2013, to Ron Lamb. I'll give
        23 right?                                                           23 you a minute to read it.
        24           MS. GULLEY: Objection; form.                           24      A. I'm familiar with this issue here.
        25    A. I would say the answer to that is -- is                    25      Q. Are you finished reading --

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         1     A. Let -- let me finish.                                         1      Q. -- "about setting up user IDs for both
         2           We have been -- you know, the war with the                 2 Integralink and DMI to allow non-regulated access to our
         3 bandits and the hackers, it's been going on for a long               3 Reynolds system."
         4 time. And what we've done over the years is -- and                   4           Then he goes on, "I find it extremely
         5 that's that we've created barriers. And what happens                 5 hypocritical that for the better part of 3-4 years
         6 is, in this, is sometimes the barrier blocks somebody                6 Reynolds has pretty much pissed off a large majority of
         7 that is -- is causing them a great deal of problem. And              7 your customer with 'security' enhancements that locked
         8 what we'll do is -- and that's on a temporary basis                      out these companies in one way or another. Now all of a
         9 while we get the -- you know,the issue -- specific                   9 sudden, Reynolds is calling me to set up exactly what we
        10 issue sorted out, we will issue a user ID temporarily.              10 were told was a security problem. So my questions is
        11           And I think that that's reflected in -- it                1 1 how is this still not a security problem."
        12 reads, "Obviously it is not getting communicated                    12           Do you see that?
        1 3 correctly -- or the dealership person is not listening             13           MS. GULLEY: Form.
        14 to the description ofthe circumstances around the                   14      Q. My question is: Do you see that?
        15 situation -- which is that a formal agreement has been              15           MS. GULLEY: Form.
        16 reached whereby entrance into the RCI world by the OEM              16      A. I see, you know, what you have read.
        17 [involved] will begin.                                              17      Q. (By Mr. Nemelka) Did you -- do you agree with
        18          "Part of this [that] agreement is to allow                 18 the dealer that it's hypocritical for Reynolds to be
        19 the feeding of data by 'bandit procedures' to continue              19 creating these protected user IDs that are exempt from
        20 to exist in [during] the transition period." And that's             20 its security processes?
        21 what it's all about.                                                21           MS. GULLEY: Form.
        22     Q. Will you continue to read that last sentence of              22      A. No. I -- I disagree with that statement.
        23 your email?                                                         23            MS. GULLEY: Are you --
        24           MS. GULLEY: Objection; form.                              24      A. And the characterization that this particular
        25     A. "The new USER-ID is a special one that we know               25 writer, this Christopher K. Upright, that we have,

                                                                     Page 59                                                               Page 61
         1 about -- and there will be exempt from the security                      quote, angered a number of our customers over the last
         2 processes."                                                          2 three or four years, you know,that's way too strong of
         3           What's not, clearly, part of that sentence                 3 a characterization. There's no question there's been
         4 is "This is a temporary transition."                                 4 inconveniences as we have, you know, ratcheted down, you
         5     Q. (By Mr. Nemelka) Mr. Brockman, this was user                  5 know, hackers' access. And that's exactly what happened
         6 IDs that were for both Integra Link! and DMI; correct?               6 here, and we -- we obviously dealt with it.
         7           MS. GULLEY: Objection; form.                               7      Q. Dealers left Reynolds over this issue of data
         8     A. Yes. I believe -- I believe, in this                          8 access, didn't they?
         9 particular situation, they were the folks that were                  9      A. There has been some, but a very small minority.
        10 described -- which they're our -- our worst hackers.                10      Q. And they transitioned, during this time period,
        11     Q. (By Mr. Nemelka) And this is in 2013; correct?               1 1 to CDK over those issues; correct?
        1/           MS. GULLEY: Objection; form.                              12           MS. GULLEY: Objection; form.
        13     A. Yes. That's -- that's the date.                              13      A. I don't have any, you know -- you know,
        14     Q. (By Mr. Nemelka) And the bottom email is an                  14 knowledge of-- ofthe -- you know, that correlates
        15 email from a dealership to Reynolds, right?                         15 security issues to, you know, number of dealerships that
        16           MS. GULLEY: Objection; form.                              16 departed. I just don't have that information, if it
        17     A. Yes.                                                         17 exists.
        18     Q. (By Mr. Nemelka) Sunset -- excuse me. Sorry.                 18      Q. (By Mr. Nemelka) Reynolds keeps track of
        19     A. That's correct. The email is to Reynolds,from                19 reasons that dealers leave it, don't -- doesn't it?
        20 a customer of Reynolds.                                             20      A. To the extent that we can ascertain, you know,
        21     Q. And the customer says, "I have now received                  21 why, we do. You know, in many, many cases, we can't.
        22 three calls from the TAC" -- what is the TAC?                       22      Q. And you're aware that, in tracking, that there
        23     A. That stands for Technical Assistance Center.                 23 were many instances -- there were instances where
        24     Q. Of Reynolds?                                                 24 dealers said they were leaving Reynolds for CDK because
        25     A. Yes.                                                         25 of the data access policies, right?

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         1            MS. GULLEY: Objection; form.                                   to Mr. Schaefer where you write on November 25th, 2013?
         2     A. I would say that there -- there are some                       2           MS. GULLEY: Objection; form.
         3 dealers that have left us over data access, but -- but,               3     A. Sorry. If you will give me a moment to --
         4 this is, you know, a very tiny minority.                              4     Q. (By Mr. Nemelka) Let me -- I'll let you review
         5     Q. (By Mr. Nemelka) In your email about the user                  5 the document. I just want -- I just want to point out
         6 IDs being exempt from security processes, what does                   6 your email to Mr. Schaefer, if I could.
         7 "exempt" mean?                                                        7     A. Please, let me read the document.
         8            MS. GULLEY: Objection; form.                               8     Q. Okay.
         9     A. I'm sorry. I'm not understanding.                              9     A. Again, I --
        10     Q. (By Mr. Nemelka) You wrote,"The new USER-ID                   10     Q. Have you finished reading them?
        1 1 is a special one that we know about -- and they" -- "and            11     A. Yes.
        12 there will exempt from the security processes." What                 12     Q. Okay, thank you.
        1 3 does that "exempt" mean?                                            13      A. Please repeat the question.
        14            MS. GULLEY: Objection; form.                              14     Q. Yes. So you sent an email -- it's the second
        15     A. I think it means what it says.                                15 from the top -- you sent an email dated November 25,
        16     Q. (By Mr. Nemelka) Security processes will not                  16 2013 to Robert Schaefer where you write,"Bob, you have
        17 apply to those protected user IDs, right?                            17 authority to pursue discussions with ADP on these
        18          MS. GULLEY: Objection; form.                                18 subjects as per our conversation." Do you see that?
        19     A. The --the specific security issue that is                     19     A. Yes.
        20 causing this particular customer unhappiness, that's                 20     Q. So this is you giving Mr. Schaefer -- who is a
        21 what the new user ID will -- will exempt them from.                  21 Reynolds executive; correct?
        22 Until such time as -- as we have our -- our piece of                 22           MS. GULLEY: Objection; form.
        23 code -- which is actually, you know, performing the                  23     A. That is correct.
        24 security check a little too aggressively -- until that's             24     Q. (By Mr. Nemelka) -- authority to talk to CDK
        25 corrected.                                                           25 on the topics outlined in the email below. Right?

                                                                      Page 63                                                              Page 65
         1     Q. (By Mr. Nemelka) You can set that aside. Oh,                               MS. GULLEY: Objection; form.
         2 one -- real quick. The access that DMI and Integra                    2     A. Yes. That -- that is correct.
         3 Link! had to the Reynolds system was automated access;                3     Q. (By Mr. Nemelka) And in the email that -- it's
         4 correct?                                                              4 an email that Howard Gardner sent to Mr. Schaefer. Now,
         5            MS. GULLEY: Objection; form.                               5 Howard Gardner is the CDK executive, right?
         6     Q. (By Mr. Nemelka) That was protected?                           6      A. I'm aware of the fact that he works for CDK.
         7            MS. GULLEY: Objection; form.                               7 Whether or not he's considered an executive, I'm not --
         8     A. Again, the -- the user ID, you know, gave the                  8 I'm not familiar.
         9 ability to -- for, you know, a person to log on to the                9     Q. And here -- the first bullet point he says,
        10 system. Exactly, you know, what they did with that, I                10 "Bob Brockman would like to work toward an agreement
        1 1 can't tell from this.                                               1 1 with ADP, and he has granted you the authority to pursue
        1/     Q. (By Mr. Nemelka) You weren't -- you're not                    12 discussions on a general framework with ADP." Do you
        13 aware that -- that -- that protected user IDs for CDK                13 see that?
        14 were for data access in an automated way?                            14           MS. GULLEY: Objection; form.
        15            MS. GULLEY: Objection; form.                              15     A. Yes, I do.
        16     A. I'm not aware of that.                                        16     Q. (By Mr. Nemelka) And that's the authority that
        17     Q. (By Mr. Nemelka) Okay. You can set that                       17 you have been granting Mr. -- that you granted
        18 aside.                                                               18 Mr. Schaefer, right?
        19            (Exhibit 641 was marked for                               19           MS. GULLEY: Objection; form.
        20            identification.)                                          20     A. Yes. I gave him authority to discuss with ADP.
        21     Q. (By Mr. Nemelka) I've handed you Plaintiffs                   21 He does not have -- this does not give him permission to
        22 Exhibit 641, which is an email --the top email is an                 22 actually do anything. It's permission to talk about
        23 email from Bob Schaefer to Howard Gardner at CDK                     23 things.
        24 forwarding an email from you, Mr. Brockman,to Robert                 24     Q. (By Mr. Nemelka) Right. And one ofthe -- if
        25 Schaefer on November 25th, 2013. Do you see your email 25 you turn to the next page -- one of the things that --

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         1 permission to talk about is for OEMs -- if you will                 1     A. Yes. That would be a proper characterization.
         2 look,"Reynolds & Reynolds and DMI will formalize and                2     Q. (By Mr. Nemelka) And it says here, R&I --
         3 extend our collaborative approach to helping OEMs                   3 "R&R" -- Reynolds -- "and DMI will jointly create and
         4 transition to a 'protected program' to prevent future               4 launch a 'protected program' that DMI will offer to its
         5 disruption of data access." Do you see that?                        5 existing and prospective non-OEM clients." Do you see
         6           MS. GULLEY: Form.                                         6 that?
         7    A. Yes. And I think it's important to point out                  7          MS. GULLEY: Objection; form.
         8 that what's happening here is -- and that's that ADP's              8     A. Yes. I see that.
         9 two subsidiaries are the worst of the hackers and                   9     Q. (By Mr. Nemelka) So that -- DMI would have
        10 bandits --                                                         10 protected access to data that Reynolds' dealers have,
        11     Q. Right.                                                      1 1 not just for OEMs, but for non-OEM third parties, too;
        12     A. --that we face. And the efforts that we're --               12 correct?
        13 we're pursuing here is -- and that's a continued                   13            MS. GULLEY: Objection; form.
        14 improvement of security by -- by, you know -- you know,            14     A. This is -- this is what ADP was asking for, and
        15 planned stand-downs.                                               15 I -- I think that, probably after this first
        16     Q. The next one, you say -- or here is "Non-OEM                16 conversation, that they were brought to understand that
        17 Third Parties." So that would be, not car                          17 we were -- that -- that we were only going to allow
        18 manufacturers, but the other applications you referred             18 access for collection of data to go to specific
        19 to, like, customer relationship management and so forth,           19 customers, not for Reynolds and DMI to, basically,
        20 right?                                                             20 continue business as usual.
        21           MS. GULLEY: Form.                                        21     Q. (By Mr. Nemelka) And then Point 4,
        22     Q. (By Mr. Nemelka) For the non- -- No. 2,                     22 "Exclusivity." Here there's a sentence that says,
        23 "Non-OEM Third Parties"?                                           23 Reynolds is -- "R&R is open to the R&R 'protected
        24           MS. GULLEY: Form.                                        24 programs' becoming an exclusive offering by DMI." Do
        25     A. Okay. We're now down to No. 2?                              25 you see that?

                                                         Page 67                                                                           Page 69
         1     Q. (By Mr. Nemelka) "Non-OEM Third Parties." Do                 1            MS. GULLEY: Objection; form.
         2 you see that?                                                       2     A. Again, the -- this is Howard Gardner's wish
         3           Mr. Brockman, do you see No. 2,"Non-OEM                   3 list.
         4 Third Parties"?                                                     4     Q. (By Mr. Nemelka) You gave Mr. Schaefer
         5     A. Yes. I'm -- I'm trying to reabsorb that                      5 authority to pursue these discussions, right, on these
         6 paragraph. That's a very --that's kind of a long                    6 topics?
         7 run-on paragraph.                                                   7            MS. GULLEY: Objection; form.
         8     Q. Well-- if I could just-- that's one reason                   8     A. Yeah. And "discussions" does not mean yes to
         9 why you're -- you know -- I'd give you the opportunity              9 everything that -- that is being requested by Howard
        10 to read the whole document, but I ask you about specific           10 Gardner. From a background standpoint, you need to
        1 1 sections. It's more efficient if I could point you to             1 1 understand who Howard Gardner is.
        12 the sections, then I give you a chance to read the                 12            Howard Gardner's baby is Digital Motor
        13 whole -- whole thing. Now --you know, reading the                  13 Works, DMI. Again, one of the worst hackers and bandits
        14 whole thing really does eat up time -- of our limited              14 out there. There's no question what -- you know,
        15 time here.                                                         15 there's items in this list of things that he would like
        16           MS. GULLEY: I object to the form and                     16 to have continue. But we have no intention of-- of
        17 to the sidebar --                                                  17 allowing that to continue to happen.
        18           MR. NEMELKA: That's fine.                                18     Q. (By Mr. Nemelka) One of the topics that you
        19           MS. GULLEY: -- and to the instruction as                 19 gave Mr. Schaefer authority to pursue discussions with
        20 improper.                                                          20 ADP on had to do with market message about -- market
        21           MR. NEMELKA: Okay.                                       21 messaging about data security, right?
        22     Q. (By Mr. Nemelka) So No. 2. "Non-OEM Third                   22            MS. GULLEY: Objection; form.
        23 Parties." Non-OEM third parties would be non-car                   23     A. I disagree. I -- I don't -- I don't think
        24 manufacturers. They're parties, right?                             24 that -- that that's the case.
        25           MS. GULLEY: Objection; form.                             25     Q. (By Mr. Nemelka) If you look at the last

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         1 section here,"Market Messaging -- Data Security." Do              1 yes, that's what they're intended to do.
         2 you see that?                                                     2     Q. (By Mr. Nemelka) Mr. Brockman, you used
         3           MS. GULLEY: Objection; form.                            3 Authenticom for your own products, didn't you?
         4     A. Again, this is -- this is Howard Gardner's wish            4           MS. GULLEY: Objection; form.
         5 list.                                                             5          (By Mr. Nemelka) We already established
         6     Q. (By Mr. Nemelka) I'm simply reading your                   6 that, right?
         7 email, Mr. Brockman. You just wrote to Mr. Schaefer,              7           MS. GULLEY: Form.
         8 "You have authority to pursue discussions with ADP on             8     A. Yes. But on a temporary basis and very, very
         9 these subjects."                                                  9 minor.
        10           MS. GULLEY: Objection.                                 10     Q. (By Mr. Nemelka) So you used a hacker and a
        11     Q. (By Mr. Nemelka) You wrote that to                        1 1 bandit for your own products?
        12 Mr. Schaefer, right? You saw that?                               12           MS. GULLEY: Objection; form.
        13           MS. GULLEY: Objection to the question and              13     A. I used Authenticom to do a specific process,
        14 the instruction.                                                 14 with the knowledge of the dealer and with our knowledge.
        15     A. The instructions that I gave to Mr. Schaefer is           15     Q. (By Mr. Nemelka) All right. So these security
        16 on a general basis. He could -- he could discuss these           16 enhancements that were much improved, much improved in
        17 general areas. It did not have anything to do with what          17 what?
        18 we were going to agree to.                                       18          MS. GULLEY: Objection; form.
        19     Q. (By Mr. Nemelka) And one of those topics was              19     A. In their ability to detect unauthorized use --
        20 market messaging on data security; correct?                      20 use of our software.
        21           MS. GULLEY: Objection; form.                           21     Q. (By Mr. Nemelka) Unauthorized use of the --
        22     A. That -- that was one ofthe items on Howard                22 meaning by integrators to access dealer data?
        23 Gardner's wish list.                                             23         MS. GULLEY: Objection; form.
        24     Q. (By Mr. Nemelka) And you authorized                       24     A. What we're talking about is -- and that's we're
        25 Mr. Schaefer to talk to CDK about that, right?                   25 talking about, you know, very, very high-level, you

                                                                  Page 71                                                               Page 73
         1           MS. GULLEY: Objection; form.                            1 know, software enhancements to detect, you know, people
         2     A. What I authorized Mr. Schaefer to do was --                2 coming into the -- the system that -- who we know
         3 that he could discuss in general terms, generally, this           3 nothing about. They're, you know, completely
         4 list. Not every specific item.                                    4 unauthorized. That's what we're talking about.
         5     Q. (By Mr. Nemelka) Now, as you're having -- as               5     Q. (By Mr. Nemelka) And you held off on releasing
         6 Reynolds is having these -- you can set that aside. As            6 those until you concluded your negotiations with CDK,
         7 Reynolds is having these discussions with CDK, you were           7 right?
         8 holding off on security enhancements that would -- that           8           MS. GULLEY: Objection; form.
         9 you wanted to release, right?                                     9     A. The exact timing of-- of that, you know, when
        10           MS. GULLEY: Objection; form.                           10 we released the -- those enhancements -- I might add
        11     A. There were a series of security enhancements              1 1 that it's -- it's clear that the enhancements are not
        1/ which were much improved in their capabilities, and we           1/ necessarily released all at once. They're -- they're
        13 wanted to deploy these -- these security enhancements.           13 not a single thing.
        14 But we did not want to do it that it would cause, kind           14           You know,there -- there's a series of what
        15 of, Armageddon kind of situation, where all of a sudden          15 we call "fixes" or "enhancements," and probably some of
        16 ADP's customers would not get what their contracts               16 them we turned loose earlier than others. They
        17 called for.                                                      17 weren't -- it's not a simultaneous, you know,
        18     Q. (By Mr. Nemelka) You said that these security             18 distribution of software enhancements.
        19 enhancements were much improved in their capabilities.           19     Q. (By Mr. Nemelka) Reynolds held up on a large
        20 Is that in their capabilities in blocking this access by         20 release of security enhancements during the negotiations
        21 independent integrators?                                         21 with CDK; correct?
        22           MS. GULLEY: Objection; form.                           22           MS. GULLEY: Objection; form.
        23     A. Again, I -- I, first of all, take issue with,             23     A. Again, I don't know that it was all the
        24 you know, the characterization of independent                    24 security enhancements that we had prepared. Certainly,
        25 integrators. You know, if you mean hackers and bandits,          25 there were a number of them.

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         1     Q. (By Mr. Nemelka) I'm going to hand you                       1 in, which is completely contrary to the terms of their
         2 Plaintiffs Exhibit 642.                                             2 contracts. Our contracts with our dealers specifically
         3          (Exhibit 642 was marked for                                3 say, you know, no authorized -- or, no use or access to
         4           identification.)                                          4 our software other than employees, you know, is -- is
         5     Q. (By Mr. Nemelka) And, Mr. Brockman, I'll                     5 permitted. Unfortunately, dealers are, you know,
         6 represent to you that your counsel produced this. And               6 somewhat cavalier about following that particular term
         7 the metadata as produced says this came from your file.             7 of their contract.
         8 And its dated June 23rd, 2014. I'll give you a chance               8     Q. (By Mr. Nemelka) And -- and they granted that
         9 to review it. There's a back page as well.                          9 access so that they could -- they granted that --
        10     A. Oh, okay.                                                   10 that -- those user IDs to be used to access the dealer
        11     Q. Mr. Brockman, these are your notes; correct?                1 1 data; correct?
        12     A. Yes.                                                        12           MS. GULLEY: Objection; form.
        13     Q. And you prepared these notes -- sorry.                      13     A. That's effectively what -- what would happen.
        14     A. This is a -- what I would refer to as a                     14 You know, the dealer has, you know, very powerful
        15 "talking paper." It is a -- a series of points that I              15 reporting tools where they could do that themselves.
        16 want to make in a conversation with Steve Anenen.                  16 But this is for remote unattended access.
        17     Q. And one thing that you told him at the very                 17     Q. (By Mr. Nemelka) All right. Let's go to the
        18 back, if you turn over to the second page, is that "We             18 first page. You have -- let's go to where you say, "The
        19 have held up on a large release of security enhancements           19 second point is very much a personal one." Do you see
        20 for over 2 months to see if there was a deal to be                 20 that, about midway through the -- down -- down through
        21 worked out." Do you see that?                                      21 the page? Midway, halfway, it says, "The second point
        22     A. Yes. I -- I see that. And that was a very                   22 is very much a personal one." Do you see that?
        23 important point of-- of a call, that we had a number of            23     A. Yes.
        24 security enhancements that would -- would basically                24     Q. Okay. Right under there, you say,"ADP has
        25 block the kind of access that -- that they -- they had             25 been extracting data out of Reynolds systems for over a

                                                                    Page 75                                                               Page 77
         1 been using to get into our systems.                                 1 decade." Do you see that?
         2     Q. And you had been holding that up?                            2    A. Yes. I do.
         3     A. Yes.                                                         3    Q. And you knew that ADP was in the business of
         4           MS. GULLEY: Objection; form.                              4 providing that data to a host of other third parties,
         5     Q. (By Mr. Nemelka) And -- and that would -- the                5 right?
         6 security enhancement would block, not just DMI and                  6          MS. GIJLLEY: Objection; form
         7 Integra Link!, but other integrators; correct?                      7    A. That -- that's my assumption. I -- I don't
         8           MS. GULLEY: Objection; form.                              8 have direct knowledge ofthat.
         9     A. That's an interesting issue. When we see                     9    Q. (By Mr. Nemelka) And then you say,"ADP has
        10 things happening where people are breaking into our                10 wrongly taken advantage of Reynolds in the marketplace
        1 1 system, we have no idea who they are in most cases.               1 1 over the issue of data security --that has cost us in
        1/ There's no --they don't have a signature on everything             1/ the millions." Do you see that?
        13 that says who they are when they come in. We just know             13    A. Yes, I do.
        14 that, you know, they're hacking their way in, and we're            14    Q. How was CDK taking advantage of Reynolds in the
        15 going to block it. In some cases, that would cover                 15 marketplace on the issue of data security?
        16 things that the ADP subsidiaries were doing. And in                16         MS. GULLEY: Objection; form.
        17 some cases, it might uncover people that we had no idea            17    A. ADP's posture in the marketplace was that our
        18 were -- were hacking into our systems.                             18 approach and our -- our -- you know, our belief that
        19     Q. (By Mr. Nemelka) You understand for DMI and                 19 data security is necessary because of the fact that we
        20 Integra Link! and Authenticom, it was the Reynolds                 20 have nonpublic personal information that -- that exists
        21 dealers that were providing them that access; correct?             21 inside of the Reynolds system, that that manner of
        22           MS. GULLEY: Objection; form.                             22 access, we think, is the right way to do things. We
        23     A. From -- when you say "providing that access,"               23 think that's what's required by law.
        24 you know, what -- what the Reynolds dealer would do is             24          ADP,from a sales standpoint, their
        25 -- and that's that they would give them a user ID to get           25 salespeople, would say that we're taking the wrong

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         1 position on the data security standpoint. And we                   1 block it.
         2 believed that that was harmful to us in the marketplace.           2      Q. (By Mr. Nemelka) Now, you say at the -- here,
         3    Q. (By Mr. Nemelka) And it cost you in the                      3 "Therefore, I want" -- "I want a no-charge access to ADP
         4 millions because you lost DMS customers as a result?               4 systems for the next 20 years." So you wanted free
         5          MS. GULLEY: Objection; form.                              5 access for the Reynolds applications for the next 20
         6    A. That -- that is correct. And to -- to lose a                 6 years, but not to extract data for other third parties,
         7 customer over data security when were doing things the             7 like DMI and Integra Link!, right? You made that clear.
         8 right way,the way that's required by law, you know, for            8 And that was a difference?
         9 them to decide to switch their business to ADP,that's              9             MS. GULLEY: Objection; form.
        10 obviously hurt.                                                   10             UNIDENTIFIED SPEAKER: Objection; form.
        11    Q. (By Mr. Nemelka) You know that other DMSs,                  11      A. There -- I think this particular passage
        12 besides Reynolds and CDK,do not take the same view that 12 indicates the level of differences between -- when I say
        1 3 you do; correct?                                                 13 "differences" --you know, points of contention between
        14          MS. GULLEY: Objection; form.                             14 us and ADP. And it is specific in that -- we have
        15          UNIDENTIFIED SPEAKER: Objection; form.                   15 applications, for instance, like reminder cards for
        16    A. I believe that they take views that are -- that             16 service, that an ADP dealership, they would like to buy
        17 are different than ours.                                          17 that product from us, and we would have specific
        18    Q. (By Mr. Nemelka) Are you saying that they are               18 certified access into the ADP system to get just the
        19 in violation of the law?                                          19 data that it takes to do reminder cards.
        20    A. I believe that the -- what's required by                    20      Q. (By Mr. Nemelka) So you wanted 20 free years
        21 Gramm-Leach-Bliley Act and also the Safeguards Rules --           21 of that type of access to this CDK dealer data; correct?
        22 I believe that they're not following those, you know,             22             MS. GULLEY: Objection; form.
        23 laws correctly.                                                   23      A. Well, it says "no-charge access." That means
        24    Q. So you say it cost you -- the CDK wrongly                   24 no charge by ADP. That we would basically -- as long as
        25 taking advantage of Reynolds in the marketplace over the          25 we used it strictly for a product that we offered, like

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         1 issue of data security cost you millions because you                   service reminders, that we would have free access for 20
         2 lost DMS customers. Any other way that it cost Reynolds            2 years.
         3 millions, besides losing DMS customers?                            3      Q. (By Mr. Nemelka) And what did you mean when
         4          MS. GULLEY: Objection; form.                              4 you told him here that "not to be used to extract data
         5    A. I would say that the -- that it wouldn't                     5 for other 3rd parties"?
         6 necessarily be just the loss of customers, it would also           6             MS. GULLEY: Objection; form.
         7 have to do with our ability to acquire new customers.              7      A. We are not -- never have been -- and have no
         8 And it is -- you have to understand, we've been -- I               8 intention of being in the process of extracting data
         9 personally have been, you know, bitter competitors, you            9 from other dealership systems for the purposes of
        10 know, with ADP for a very, very, very long time, in               10 reselling. We don't do that.
        1 1 excess of 40 years. And this was one of the things that          11      Q. (By Mr. Nemelka) Like DMI and Integra
        12 irritated me specifically.                                        12 Link! did?
        13          The software that I helped create, the                   13      A. We don't do that.
        14 Power system in Houston, is extremely, you know, strong           14      Q. You were considering entering into a joint
        15 in its data security. And from the time that I, you               15 venture with CDK on that, though, as we saw earlier.
        16 know, came aboard at Reynolds and Reynolds, we've been            16 Correct?
        17 working to improve our data security. And it is vastly            17             MS. GULLEY: Objection; form.
        18 improved from when I first -- you know, first arrived 12          18      A. No. That's not true. That-- that's not true.
        19 years ago.                                                        19 Our -- our whole discussion with ADP was about an
        20          It's still not perfect, because people                   20 orderly stand-down transition, to avoid creating
        21 think that -- you know, more, you know, inventive ways            21 hardships for what is our mutual customers.
        22 of doing it. And it's very much a cat-and-mouse                   22      Q. (By Mr. Nemelka) And here -- did you tell
        23 situation in that the hackers figure out a new way and            23 Mr. Anenen that you had no intention of ever entering
        24 then we figure out a way to block it. And then they               24 into the business like DMI and Integra Link!?
        25 figure out another new way and we figure out a way to             25             MS. GULLEY: Objection; form.

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         1      A. I don't think I made a -- a general statement              1 as far as our system is concerned. It's time for it to
         2 of that. I think it's pretty clear, it says, "like                 2 be over.
         3 service reminders -- not to be used to extract data for            3     Q. (By Mr. Nemelka) And you write to him, also --
         4 other 3rd parties." So that comment was directly in                4 still your email, Mr. Brockman. "However given that ADP
         5 relationship to the access that we would be granted by 5 has accessed our systems for a couple of decades, my
         6 ADP.                                                               6 request is for more than just data access than for
         7      Q. (By Mr. Nemelka) I've handed you Plaintiffs                7 maintenance reminders -- both in content and duration."
         8 Exhibit 643.                                                       8            So you -- here, you're saying, because CDK
         9            (Exhibit 643 was marked for                             9 accessed your systems for a long time, your request here
        10              identification.)                                     10 for free access is more than just for maintenance
        11      Q. (By Mr. Nemelka) The top email is an email                1 1 reminders, right?
        12 from Steve Anenen to you, dated July 2nd, 2015. I'll 12                         MS. GULLEY: Objection; form.
        13 give you a chance to read it. But again, Steve Anenen 1 3                A. It is for other software products that -- that
        14 is CDK's CEO,right?                                               14 we might offer to the marketplace. But still under the
        15      A. That's correct.                                           15 certified interface process --
        16      Q. And this is an email to you, July 2nd, 2014.              16     Q. (By Mr. Nemelka) Right.
        17 I'll give you a chance to --to review it.                         17     A. --where it's clearly spelled out by contract,
        18             MS. GULLEY: It starts on the back.                    18 you know, what data that we -- we get and nothing else.
        19      Q. (By Mr. Nemelka) Right. It starts off with an 19                 Q. And then I want to ask you about what
        20 email from you on June 30th, to Mr. Anenen; correct? 20 Mr. Anenen says to that statement in particular, if you
        21 Mr. Brockman?                                                     21 go to his email.
        22      A. Just --just a moment. Let me -- let me read               22            MS. GULLEY: I don't -- I don't think he
        23 it. Yes, I've read it. Can you repeat your question?              23 read this first page.
        24      Q. All right. So this starts off with an email               24            MR.NEMELKA: I'm not going to ask about
        25 from you to Mr. Anenen, dated June 30, 2014, right? 25 anything but this one email -- but this one paragraph.

                                                                   Page 83                                                                Page 85
         1     A. That's correct.                                             1     Q. (By Mr. Nemelka) He says --
         2     Q. And this follows up a conversation that you had             2            MS. GULLEY: I object to that.
         3 with him; correct?                                                 3            MR. NEMELKA: Okay. I just want to point
         4           MS. GULLEY: Form.                                        4 you to this one -- one paragraph that Mr. Anenen writes
         5     A. Yes. That is correct.                                       5 in response to that statement.
         6     Q. (By Mr. Nemelka) And those were the -- the                  6            MS. GULLEY: I object to that.
         7 talking points for that conversation is the document               7            THE WITNESS: I would like to read the
         8 that we just --just looked at; correct?                            8 email, please.
         9           MS. GULLEY: Objection; form.                             9            MR. NEMELKA: Okay.
        10     A. Yes. That -- that's correct. And as you can                10            MR. RYAN: So my -- my complaint is that
        1 1 tell by the tone of this email, I'm getting a little             1 1 the procedure is that if the witness wants to read the
        1/ impatient.                                                        12 document, the witness can, right? That's certainly been
        13     Q. Right.                                                     13 the case in depositions ofthe witnesses that you
        14     A. More than a little impatient.                              14 represented. I just want to know what the ground rules
        15     Q. Right. You write here at the end,"My data                  15 are.
        16 security projects have been delayed another week."                16            MR.NEMELKA: If it's going to be
        17 Right?                                                            17 obstructionist, then we'll do it document by document.
        18     A. Yes. That's what it says.                                  18 I will let him read this email.
        19     Q. You're still delaying the -- the data security             19            MS. GULLEY: I object to that comment as
        20 projects since June 30th, 2014, right?                            20 well.
        21           MS. GULLEY: Objection; form.                            21            MR. NEMELKA: While he's reading, I'll just
        22     A. That's the date of this email. What's                      22 state for the record, we've been given limited time,
        23 happening is -- and that's that Steve Anenen is                   23 here. I think it's fair to direct him to particular
        24 employing delay tactics. And I'm impatient to get this            24 points in a -- in a document. I'm giving him a chance
        25 situation of, you know, data hacking, bandits, going on           25 to read them. If they are longer documents, I think

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         1 its fair for us to direct him, for efficiency purposes.                  case, controlling data access has become a priority for
         2 If you want to take your time and ask him about other                2 R&R only within the last several years. I would be
         3 parts of the document, you're free to.                               3 remiss not pointing out that R&R is accessing the ADP
         4            MS. GULLEY: Mr. Nemelka, you have called                  4 system through a contract with Authenticom, and has been
         5 opposing counsel inappropriate for making statements on              5 doing so for quite some time without an agreement from
         6 the record like the one that you just made. I                        6 ADP."
         7 completely object to your statement.                                 7           Is Mr. Anenen correct in that, that -- that
         8            I also ask -- direct you to look into the                 8 Reynolds was accessing the ADP system through a contract
         9 depositions that you have defended and that your                     9 with Authenticom?
        10 partner, Mr. Ho, has defended, in which he hasn't even              10            MS. GULLEY: Objection; form.
        1 1 allowed counsel to use the time that they have on the              11      A. Well, there are some things that I -- I
        12 record. Everyone has the same amount oftime, and                    12 disagree with in -- in this paragraph, starting with the
        13 this -- this --the desire to read documents is one that             1 3 first sentence. I believe that when you acquire a
        14 you instructed your clients, repeatedly, on the record.             14 company and you make it part of your organization, that,
        15            And if Mr. Brockman suggests that he would               15 you know, the history of that company kind of goes with
        16 like to read the document -- you're asking him to opine             16 it and becomes part of your history. And for him to,
        17 on statements by Mr. Anenen -- he should at least be                17 you know, basically say that because DMI and Integra
        18 allowed to read those statements, given that they were              18 Link! are organizations they acquired, you know, that
        19 more than four years ago.                                           19 doesn't count. I believe it does count.
        20            MR. NEMELKA: You've gone beyond what's                   20      Q. (By Mr. Nemelka) That wasn't my question,
        21 appropriate, Andi, but I'll get back to questioning.                21 Mr. Brockman. My question was: Is he correct in
        22     Q. (By Mr. Nemelka) All right, Mr. Brockman, I'd                22 pointing out that R&R is accessing that CDK system
        23 like to ask you about --                                            23 through a contract with Authenticom?
        24            THE WITNESS: Excuse me. I didn't finish                  24            MS. GULLEY: Objection; form.
        25 reading. The amount of conversation that's been going               25      A. Yes. I'm -- I concur with that -- comma --

                                                                     Page 87                                                                 Page 89
         1 on across the table, I haven't had a chance to read.                 1 however, there is an issue of degree here. What's been
         2            MR. NEMELKA: Okay.                                        2 going on -- what ADP has been doing as far as, you know,
         3            MS. WEDGWORTH: Can we go off the record a                 3 hacking our systems has been on -- on a giant scale,
         4 minute? Mr. Wallner has informed us the phone is not --              4 whereas the -- the agreement with Authenticom for
         5 has been disconnected. Can we go off the record?                     5 information from CDK's systems, specifically around
         6            THE VIDEOGRAPHER: The time is 11:37 a.m.                  6 reminder cards, is -- is min- -- minuscule. And what
         7 We are off the record.                                               7 he's doing is -- and that's, you know, this -- this is a
         8            (Short recess 11:37 to 11:50 a.m.)                        8 negotiation -- a pretty heated negotiation, frankly --
         9            THE VIDEOGRAPHER: This is the beginning of                9 or at least kind of heated on my part -- and that he's
        10 Media 2. The time is 11:50 a.m. We are back on the                  10 endeavoring to dodge around.
        1 1 record.                                                            11      Q. (By Mr. Nemelka) You wouldn't have used
        1/             EXAMINATION (Continuing)                                12 Authenticom if they were insecure, would you have?
        13 BY MR. NEMELKA:                                                     13            MS. GULLEY: Objection; form.
        14    Q. Mr. Brockman, I'd like to point you to the                    14      A. For reminder cards, you know, there's no
        15 email that you received from Mr. Anenen on July 2nd,                15 nonpublic personal information. There's no accounting
        16 2014. Do you have that in front of you?                             16 information. It -- again, it is -- it's not an
        17    A. I do.                                                         17 application that's sensitive.
        18    Q. And he wrote to you -- in the paragraph after                 18      Q. (By Mr. Nemelka) Reynolds used Authenticom for
        19 his bullet points, he said, "I should point out that we             19 more than just those reminders, right?
        20 have not been 'accessing R&R systems for decades' as you            20            MS. GULLEY: Objection; form.
        21 said. Our businesses that access R&R systems came to us             21      A. I think that they started to do some work for
        22 through an acquisition." Do you see that?                           22 the -- the ad agency.
        23            MS. GULLEY: Form.                                        23      Q. (By Mr. Nemelka) Right. Naked Line Marketing,
        24    A. Yes, I do.                                                    24 right?
        25    Q. (By Mr. Nemelka) And then he says, "In any                    25            MS. GULLEY: Objection; form.

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         1     A. Yes. That's the name of our ad agency.                      1           (By Mr. Nemelka) I've handed you an
         2     Q. And Naked Line does have information -- does                2 exhibit marked Plaintiffs Exhibit 644.
         3 get information on customers; correct?                             3           (Exhibit 644 was marked for
         4           MS. GULLEY: Objection; form.                             4             identification.)
         5     A. Again, the usage of-- that usage is -- has                  5     Q. (By Mr. Nemelka) And I will represent to you
         6 been extremely minor.                                              6 that this was produced to us by your counsel from your
         7     Q. (By Mr. Nemelka) Again, you would not have                  7 custodial files, with a date of July 14th, 2014. And
         8 used Authenticom if they were insecure, right?                     8 the file name was "Aspen Meeting 2014 State of the
         9           MS. GULLEY: Objection; form.                             9 Union." And I'm only going to ask you about two
        10     A. As far as I know, there's been -- there was no             10 sections.
        1 1 inquiry made with regards to their internal security             11           So it's a multipage state of the union
        12 procedures.                                                       12 notes. So do you -- do you recognize these as your --
        13     Q. (By Mr. Nemelka) You're not aware of any data              13 your notes for a state ofthe union meeting?
        14 breaches that they've had, right?                                 14           MS. GULLEY: Form.
        15           MS. GULLEY: Objection; form.                            15     A. The context of this is --and that's we have an
        16     A. Not that I'm aware of                                      16 annual meeting of sales -- you know -- vice-presidents,
        17     Q. (By Mr. Nemelka) They provided a reliable                  17 and we discuss a number of issues of general interest.
        18 service; correct?                                                 18     Q. (By Mr. Nemelka) Okay. If I could just point
        19           MS. GULLEY: Objection; form.                            19 you to the section on "Security," on the next page.
        20     A. And IM not involved in -- in that part of our              20           MS. GULLEY: Objection.
        21 business. It's -- I'm not in -- in a position to say              21     A. Well, I think that this -- this is a big
        22 whether it's reliable or not.                                     22 document. I think I would prefer to, you know, spend a
        23     Q. (By Mr. Nemelka) It's cost-effective for                   23 little more time on it than that. I -- I hesitate to,
        24 Reynolds to use Authenticom, right?                               24 essentially, take things out of context.
        25           MS. GULLEY: Objection; form.                            25     Q. (By Mr. Nemelka) All right. I don't intend on

                                                                   Page 91                                                           Page 93
         1     A. Again, I'm -- I'm not sufficiently involved in              1 taking anything out of context. I'm just going to ask
         2 that part of the business to be able to comment on that.           2 you about the sections on security. But -- you know, it
         3     Q. (By Mr. Nemelka) And then he writes at the end              3 is a long document. And I don't intend on asking you
         4 of that paragraph,"We need to clean this up as well."              4 about most of it,
         5 And you understood that to mean that Reynolds needed to            5           I guess, can I just ask you, first of
         6 stop using Authenticom, right?                                     6 all -- maybe I'll just do it this way. Do you recognize
         7           MS. GULLEY: Objection; form.                             7 these as your -- your speaking notes for that -- for
         8     A. Frankly, I don't recall that I've ever focused              8 that address?
         9 on that -- on that sentence. It's a little short one,              9           MS. GULLEY: Form.
        10 kind of down at the end of the whole thing. And so --             10     A. These were, you know,talking points. They
        11     Q. (By Mr. Nemelka) What do you understand him to             1 1 covered a number of issues of interest, a lot of which
        1/ mean by saying,"We need to clean this up as well"?                1/ are related.
        13           MS. GULLEY: Objection; form. Please let                 13     Q. (By Mr. Nemelka) I'll-- maybe if I could just
        14 him finish his answers.                                           14 ask you the questions on security, and if you feel like
        15     A. It is --it is not clear to me what that means              15 you need to review the rest of it to answer them,
        16 and, frankly, when I received this, I didn't pay much             16 then --then I'll give you the chance. But if I could
        17 attention to that, you know, little short sentence in             17 just try to --you know, make this more efficient by
        18 the next-to-the-last paragraph.                                   18 pointing you to the security section?
        19     Q. (By Mr. Nemelka) Reynolds ultimately did agree             19           MS. GULLEY: Objection; form.
        20 to stop using Authenticom as part of its agreements with          20     A. I think to make -- to make an intelligent
        21 CDK,right?                                                        21 decision as of what to do, I need to read it first.
        22           MS. GULLEY: Objection; form.                            22           MR.NEMELKA: All right. Well, while you
        23     A. I -- I know that -- that we stopped using                  23 do that, let's go off the record.
        24 Authenticom. Whether it was part of the -- of the                 24           MS. GULLEY: Objection. We are staying on
        25 stand-down agreement, I'm not sure.                               25 the record. That's just the procedure that's been

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         1 followed by Kellogg, so I'm just trying to make it, you          1     A. Yes.
         2 know, sort of goose/gander.                                      2     Q. I want to ask you about a few bullet points
         3           MR. NEMELKA: All right. We have a jury                 3 that start with "ADP" -- and CDK -- "has approached us
         4 that's going to be watching this. And I would just like          4 about doing the same -- we are in the early stages of
         5 to state for the record, I've asked him to -- only asked         5 negotiating a similar agreement." Do you see that?
         6 him for a few questions to make this efficient. But he           6     A. Yes. I see that.
         7 wants to review the whole -- whole documents. He's               7     Q. So is it CDK that approached Reynolds about
         8 recognized that -- he's acknowledged that these are              8 entering into an agreement with respect to its -- its
         9 speaking notes for -- for that meeting. And with that            9 data access on Reynolds system?
        10 statement, Mr. Brockman, you can review the document.           10          MS. GULLEY: Form.
        11           MS. GULLEY: I object.                                 11     A. It's hard for me to -- to recall exactly how
        12           MR.RYAN: I object as well.                            12 that, you know, came about, because I was not the first
        13           THE WITNESS: I'd like to speak to my                  1 3 person to actually talk, you know, to CDK. And whether
        14 attorney about this document.                                   14 or not one of their people talked to one of our people,
        15           MR. NEMELKA: Okay.                                    15 or one of our people talked to one of their people, I --
        16           MS. GULLEY: Does it relate to a matter of             16 I don't know the answer to that.
        17 privilege -- potential privilege?                               17     Q. (By Mr. Nemelka) At least -- these notes,
        18           THE WITNESS: This is very, very sensitive             18 though, you -- you seem to indicate that ADP has
        19 information. You know --                                        19 approached "us," meaning CDK approached Reynolds, right?
        20           MS. GULLEY: Is there a question pending               20          MS. GULLEY: Form.
        21 right now? So we can go off the record? There is not.           21     A. Yes. The -- that's what it says, but -- you
        22 There is not a question pending.                                22 know, as far as my, you know, hard knowledge, you know,
        23           MR.RYAN: There is no question.                        23 behind that -- that statement, I don't have hard
        24           MS. GULLEY: Okay. Thanks. Let's go off                24 knowledge as to what actually -- and franldy, I don't
        25 the record.                                                     25 think that's important.

                                                                 Page 95                                                                  Page 97
         1           THE VIDEOGRAPHER: The time is 12:01 p.m.                     Q. (By Mr. Nemelka) And then you write here,
         2 We're offthe record.                                             2 fourth bullet point, "This could put the security wars
         3          (Short recess 12:01 to 12:02 p.m.)                      3 very much behind us." Do you see that?
         4           THE VIDEOGRAPFIER: Back on the record at               4            MS. GULLEY: Form.
         5 12:02 p.m.                                                       5     A. Certainly, those two entities that belong to
         6           MS. GULLEY: Thank you for that short                   6 ADP are by far the worst and, matter of fact,
         7 break. Mr. Brockman had a question about the protective          7 probably -- in total, probably the amount of data
         8 order. And in light of the sensitive nature of this              8 hacking that goes on, they equal everybody else combined
         9 document, we ask that I remind everyone that this has            9 and more.
        10 been marked "Attorneys' Eyes Only," that this entire            10     Q. (By Mr. Nemelka) That wasn't my question. The
        1 1 deposition is "Attorneys' Eyes Only." In particular, to        1 1 question here is: Do you see that you wrote that "This
        12 remind Mr. Ryan that executives within his company and          12 could put the security wars very much behind us"? Do
        13 all the parties are not to know about or be told about          13 you see that?
        14 any of this document or the subject of this testimony.          14            MS. GULLEY: Objection; form.
        15 Thank you.                                                      15     A. Yeah. What I'm talking about there is -- and
        16            EXAMINATION (Continuing)                             16 that's that, you know, the volume of hacking would be
        17 BY MR. NEMELKA:                                                 17 substantially reduced.
        18     Q. Can I ask you some questions now, Mr. Brockman?          18     Q. (By Mr. Nemelka) So you -- earlier this
        19     A. I'm almost done reading it.                              19 morning, you said that you never used the phrase
        20     Q. Okay.                                                    20 "security wars." Does this refresh your recollection
        21     A. Yes.                                                     21 that you actually do -- did?
        22     Q. If you can go to the section on "Security,"              22            MS. GULLEY: Objection; form.
        23 which is on the -- after the first page, on the back of         23     A. Well, it -- it looks like that -- that I
        24 the first page. Do you see that bottom-of-the-page              24 actually have used it once. I will admit, it's in lower
        25 section on Security?                                            25 case. And when I write documents like this, it's just

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         1 very much kind of stream of consciousness, because I'm              1 about the wind-down agreement. What you write is,
         2 trying to give the best picture to the people that are              2 "Since we have no idea of how ADP is going to charge 3rd
         3 listening to it. Because they're my top people, and                 3 parties for their version of RCI."
         4 also the most expensive people.                                     4       And my question is: How did you know that
         5    Q. (By Mr. Nemelka) And you felt that you had                    5 CDK was going to have their version of an RCI?
         6 been in a security war with CDK,right?                              6          MS. GULLEY: Objection; form.
         7            MS. GULLEY: Objection; form.                             7    A. I think at that point, we were also
         8      A. I definitely had been in -- I had long-term                 8 understanding that we were going to be able to have RCI
         9 issues with CDK over -- over, you know,just ban- --                 9 access into ADP dealership customers, not for the
        10 plain old banditry as far as our system is concerned.              10 purposes of being a redistributor, but for the purposes
        11    Q. (By Mr. Nemelka) This wasn't just about the                  1 1 of using it within one of our product offerings. And
        12 access of your system, though, this was also about CDK's           12 there was going to be a charge associated with that.
        13 own policies, right?                                               13     Q. (By Mr. Nemelka) Reynolds was going to he
        14         MS. GULLEY: Objection; form.                               14 getting five free years of access, no --no charge to --
        15    A. It also included, you know, the fact that they               15 to Reynolds, right?
        16 had outright lied to manufacturers about what data they            16          MS. GULLEY: Objection; form.
        17 were extracting from our systems. And particularly,                17          MR.RYAN: Objection; form.
        18 General Motors. We discovered that they were fulfilling            18    A. That --that was --that was what ended up
        19 a request by General Motors for data, and they were                19 being -- being part of the agreement. However, we had
        20 talking to dealers saying,"This needs to be done                   20 no, you know, specific idea that our usage would be
        21 because it's General Motors." Well, the fact ofthe                 21 limited to 600 dealerships. It -- it would be -- it
        22 matter is, they were collecting way more than what                 22 would be other products. You know, their -- this
        23 General Motors ever asked for.                                     23 marketplace is -- is constantly, you know, building more
        24          MS. GULLEY: Wait. Let him finish.                         24 products.
        25    A. And so that is kind of-- the whole general                   25          And actually, in, you know,looking back,

                                                                    Page 99                                                           Page 101
         1 area is what I'm referring to.                                      1 it's fortunate that we were able to achieve this kind of
         2   Q. (By Mr. Nemelka) That's not what I asked.                      2 access as part of the agreement, because we bought an
         3 What I'm saying is, this was not just about CDK's access            3 organization called Reverse Risk, which is a business
         4 on the Reynolds system. It was also about CDK's own                 4 intelligence system that has over 1,000 dealerships that
         5 policies with respect to access on the CDK system,                  5 are CDK dealerships, that through an RCI type agreement,
         6 right?                                                              6 you know, with CDK, you know, we -- you know -- we
         7          MS. GULLEY: Objection to the form.                         7 downloaded accounting information for the purposes of
         8    A. No. It was -- it was -- it refers to                          8 making comparisons.
         9   situations where they were accessing dealership systems           9   Q. (By Mr. Nemelka) That wasn't my question,
        10   on behalf of OEMs.                                               10 Mr. Brockman.
        11      Q. (By Mr. Nemelka) The next bullet point, you                11          I'm asking you why, after you say it's
        1/   write, "Since we have no idea of how ADP is going to             12 going to be an end to the security wars, you list that
        13   charge 3rd parties for their version of RCI -- we will           13 ADP is going to have their own version of RCI? What is
        14 likely continue to have the issue of customers                     14 the connection?
        15 complaining that their costs from 3rd party vendors are            15            MS. GULLEY: Objection; form.
        16 more expensive with a DMS from Reynolds than ADP."                 16     A. Again, I --their --their own version of RCI
        17         I wanted to ask you: How did you know that                 17 is -- is part of what the stand-down agreement is all
        18 CDK would have a version of RCI, like you did?                     18 about.
        19           MS. GULLEY: Objection; form.                             19     Q. (By Mr. Nemelka) You don't talk about -- in
        20     A. I think at that point in time, it -- it                     20 that bullet point, you don't talk about the stand-down
        21 looked -- it had become apparent --it wasn't done, but             21 agreement. You talk about third parties for their
        22 it had become apparent that there was going to be a --             22 version of RCI, right?
        23 an orderly stand-down agreement with ADP. That's --                23          MS. GULLEY: Objection; form.
        24 that's what I'm saying here.                                       24     A. Well, again, I'm trying to tell you what I was
        25     Q. (By Mr. Nemelka) All right. I'm not talking                 25 thinking about when I wrote this thing and what I was

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         1 trying to communicate.                                               1 Are -- we're on the first page of what document?
         2     Q. (By Mr. Nemelka) And I'm just saying I'm just                 2           MR.NEMELKA: The document that's right in
         3 reading your words,"charge 3rd parties" -- not "charge               3 front of him, Andi.
         4 Reynolds" -- "charge 3rd parties for their version of                4           MS. GULLEY: Could you identify the exhibit
         5 Rd."                                                                 5 for the record, please.
         6            MS. GULLEY: Objection; form.                              6           MR.NEMELKA: This is Exhibit 644.
         7     Q. (By Mr. Nemelka) And so my question is --                     7           MS. GULLEY: Thank you.
         8            MS. GULLEY: Let him finish his question.                  8     Q. (By Mr. Nemelka) Under the section on
         9            THE WITNESS: Yeah.                                        9 "Acquisitions" -- since you read the whole document -- I
        10     Q.(By Mr. Nemelka) Go ahead and answer.                         10 wanted to ask you about a sentence here where you write,
        11            MS. GULLEY: Answer what?                                 1 1 "We need to quit talking about DMS systems and focus on
        12     Q.(By Mr. Nemelka) Mr. Brockman wants to talk.                  12 RMS and the massive financial advantages of our
        13            MS. GULLEY: Just wait for a question.                    1 3 offering."
        14            MR. RYAN: Wait for a question.                           14           And my first question is: "RMS" stands for
        15     Q.(By Mr. Nemelka) My question is -- is:          You're        15 Retail Management Ser- -- is that Retail Management
        16 not talking about what -- what CDK is going to charge               16 Services or Retail Management System?
        17 Reynolds. You're talking about what CDK is going to                 17           MS. GULLEY: Objection; form.
        18 charge third parties for their version of RCI; correct?             18     A. Retail Management System.
        19            MS. GULLEY: Objection; form.                             19     Q. (By Mr. Nemelka) Okay. And you said you need
        20     A. In -- in that context, I believe that Fin, you               20 to -- and this is a speech to your salespeople; is that
        21 know, characterizing Reynolds as a third party.                     21 right?
        22     Q. (By Mr. Nemelka) You're not talking about all                22           MS. GULLEY: Objection; form.
        23 of the other vendors?                                               23     A. That's correct.
        24     A. I -- I don't think that I'm -- I know,                       24     Q. (By Mr. Nemelka) And you say they -- they need
        25 specifically, that I'm talking about, at least,                     25 to quit talking about DMS systems and focus instead on

                                                                    Page 103                                                             Page 105
         1 Reynolds.                                                            1 RMS. What did you mean by that?
         2     Q. Well, you go on, Mr. Brockman,"We will likely                 2           MS. GULLEY: Form.
         3 continue to have the issue of customers complaining that             3     A. What I mean by that is -- and that's the DMS
         4 their costs from 3rd party vendors are more expensive                4 systems are the -- the traditional, you know,
         5 with a DMS from Reynolds than ADP." Are you referring                5 applications of-- of accounting, payroll, parts, you
         6 only to the Reynolds applications?                                   6 know, service, finance, vehicle inventory, factory
         7            MS. GULLEY: Objection; form.                              7 communications. That is a suite of applications which
         8     A. What I'm referring to is, in this, that, you                  8 has been under long development and, frankly, its
         9 know, we get beat up in the marketplace over, you know,              9 gotten to the point where it's so good that there's
        10 third parties having to pay for a Reynolds-certified                10 nothing much more we can do to it. I know that sounds a
        1 1 interface, and it looks like -- it looks like the way              1 1 little strange but, I mean, that's the truth. The level
        1/ it's going is -- and that's that CDK is going to do it              1/ of requests we have for software enhancement in those
        13 the same way.                                                       13 application areas is, you know, been kind of like this
        14     Q. (By Mr. Nemelka) All right. Let's go to the                  14 (indicating) for a long time.
        15 first page. I want to ask you about a bullet point                  15           The retail management system takes into
        16 here.                                                               16 consideration all of the other applications that
        17            MS. GULLEY: I'm sorry. So we're on 644.                  17 surround the DMS, which is under active development.
        18 You're talking about something other than the "Security"            18 For instance, our docuPAD application and our imaging
        19 section?                                                            19 systems, our advanced service products have been under,
        20            MR. NEMELKA: Andi, make your objections.                 20 you know, steady improvement. And we have considerable
        21 I'm on the first --                                                 21 competitive advantage in those areas. And so what I'm
        22            MS. GULLEY: I'm trying to figure out --                  22 encouraging them to do is -- and that's to not focus on,
        23            MR. NEMELKA: I'm on the first page. I'm                  23 you know, the older applications where we -- where
        24 on the first page. That's not what you're doing.                    24 everybody is kind of caught up. To be focused --to
        25            MS. GULLEY: Mr. Nemelka, I'm asking:                     25 focus, instead, on the retail management system, which

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         1 includes all of the other applications that integrate to                        MS. GULLEY: Form.
         2 the central core applications.                                     2     A. Give me a chance to -- to read it. I'll be
         3     Q. Thank you for that explanation.                             3 with you shortly.
         4          (Exhibit 645 was marked for                               4     Q. (By Mr. Nemelka) Okay.
         5           identification.)                                         5     A. Okay.
         6     Q. (By Mr. Nemelka) I've handed you Plaintiffs                 6     Q. Okay, I want to ask you just about one issue
         7 Exhibit 645. And if you recognize -- the top email is              7 here that he references. First of all, do you recall
         8 an email from Mr. Schaefer to Ron Workman, dated January 8 getting this email from Mr. Schaefer, Mr. Brockman?
         9 6, 2015. But the chain starts with an email from you to            9     A. Yes.
        10 Mr. Brockman, also dated January 6, 2015. So do you               10     Q. And the -- an issue -- and it's about the
        1 1 recognize this document?                                         1 1 continuing negotiations between CDK and Reynolds;
        12     A. I've got to -- I've got to read it. Okay.                  12 correct?
        13     Q. So I need to ask you about your email where you            13            MS. GULLEY: Form.
        14 write to Mr. Anenen --this is now January 2015 -- "We             14     A. Yes.
        15 have held off on a series of major security enhancements          15     Q. (By Mr. Nemelka) And an issue that -- I mean,
        16 to our DMS systems at your request." So are these the             16 I've identified is -- I'm quoting -- "CDK committing to
        17 same security enhancements that we saw from 2014 that             17 NEVER accessing the Reynolds DMS again." Do you see
        18 Reynolds had been holding off on?                                 18 that at the bottom of the first page?
        19           MS. GULLEY: Objection; form.                            19            MS. GULLEY: Form.
        20     A. I'm sorry. I don't know what specific ones are             20     Q. (By Mr. Nemelka) At bottom of the first page,
        21 involved. I don't -- I'm not a programmer.                        21 the very last line.
        22     Q. (By Mr. Nemelka) But still -- Reynolds is                  22            MS. GULLEY: Objection; form.
        23 still holding off on security enhancements, though,               23     Q. (By Mr. Nemelka) Are you there with me,
        24 right?                                                            24 Mr. Brockman?
        25           MS. GULLEY: Objection; form.                            25     A. I see that, and I'm -- and I'm looking at --

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         1     A. They're -- that's what I was saying to Steve                1 what the reply was.
         2 Anenen in this -- in this email. There's no question --            2     Q. And --
         3 you can tell my -- my frustration is increasing and, you           3            MS. GULLEY: Objection; form.
         4 know, this is --this is an or-else kind of email.                  4     Q. (By Mr. Nemelka) What Mr. Schaefer explains to
         5     Q. (By Mr. Nemelka) Right. And you say,"We must                5 you is, is that -- and I want to ask you, Mr. Brockman,
         6 proceed with the release of our security enhancements."            6 about the next page, Mr. -- what Mr. Schaefer writes to
         7 You say that at the end, right?                                    7 you about that issue. Second-to-last sentence of
         8     A. That's correct.                                             8 that first paragraph up top, he says,"We have added" --
         9     Q. And these have been pending for a long time,                9 meaning Reynolds -- "have added after the 5 years they
        10 given the documents we've been looking at, right?                 10 cannot access the system on behalf of any 3rd party
        11           MS. GULLEY: Form.                                       1 1 forever." Do you see that?
        1/     A. That's correct. It's been a very frustrating,              1/            MS. GULLEY: Form.
        13 you know, process.                                                13     A. Yes.
        14     Q. (By Mr. Nemelka) And the security enhancements             14     Q. (By Mr. Nemelka) And that's what Reynolds
        15 that you are going to release -- strike that.                     15 wanted, is for CDK to agree to never access the Reynolds
        16           MS. GULLEY: For the room, the lunch is                  16 system again on behalf of any third party, right?
        17 here.                                                             17            MS. GULLEY: Form.
        18           MR. NEMELKA: I want to ask him about one                18     A. That's certainly what we wanted to happen.
        19 more document. It might be more than one.                         19     Q. (By Mr. Nemelka) And CDK said, at least --
        20          (Exhibit 646 was marked for                              20 current state of the negotiation was for five years.
        21           identification.)                                        21 We'll have this wind-down period, but after that, we
        22     Q. (By Mr. Nemelka) I've handed you Plaintiffs                22 don't want to agree to the forever, right?
        23 Exhibit 646, which is an email from Bob Schaefer to you,          23            MS. GULLEY: Objection; form.
        24 Mr. Brockman, dated January 11, 2015. Do you recognize            24     A. That -- that was my understanding. And this
        25 receiving this email from Mr. Schaefer?                           25 whole -- I've not been involved at this level of detail

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         1 in this negotiation, which is basically formalizing what            1 to go ask for any further changes and to agree to, you
         2 the stand-down agreement consists of And I know what                2 know, what CDK wanted,just to get it off the table so I
         3 we asked for and -- and they're -- they're not agreeing.            3 could get on with the next project.
         4     Q. (By Mr. Nemelka) Okay. Reynolds was insisting                4     Q. (By Mr. Nemelka) Did you read this before you
         5 on forever never accessing. And CDK, at least, wanted               5 signed it?
         6 to keep that to five years, right?                                  6           MS. GULLEY: Form.
         7          MS. GULLEY: Objection; form.                               7     A. I did not read it. I -- I -- I skimmed it.
         8     Q. (By Mr. Nemelka) Right? What was that -- what                8     Q. (By Mr. Nemelka) Okay. So let's go to Section
         9 was the answer?                                                     9 4.5. And the Section 4.5 is "Prohibition on Knowledge
        10           MS. GULLEY: Objection; form.                             10 Transfer and DMS Access." Do you see that?
        11     A. That's my understanding. That's what this is                11           MS. GULLEY: Form.
        12 all about.                                                         12     A. Yes, I see that paragraph.
        13     Q. (By Mr. Nemelka) And in fact, in the wind-down              13     Q. (By Mr. Nemelka) All right. And in this
        14 agreement, it is forever, right?                                   14 paragraph, CDK and Reynolds agreed to two things.
        15           MS. GULLEY: Objection --                                 15           MS. GULLEY: Form.
        16           MR. NEMELKA: Let me finish answering my                  16     Q. (By Mr. Nemelka) Let's look at the first.
        17 question -- asking my question.                                    17 "Each of Reynolds and CDK further covenants and agrees
        18     Q. (By Mr. Nemelka) In fact, it is forever,                    18 not to sell, transfer, or assign to any affiliate or
        19 correct, that CDK agreed to never access the Reynolds              19 third party any technology, business process, or other
        20 system, right?                                                     20 such knowledge regarding integration with the other
        21           MS. GULLEY: Objection; form. This is                     21 party's DMS or take any other steps to assist any person
        22 improper.                                                          22 that it reasonably believes to have plans to access or
        23     A. I would want to go look at that document, but I             23 integrate with the other party's DMS without other
        24 don't believe it says that.                                        24 party's written consent." Do you see that?
        25           MR. NEMELKA: All right. Let's pull it                    25           MS. GULLEY: Form.

                                                                   Page 111                                                              Page 113
         1 out.                                                                1     A. Yes, I see that. And that -- that's a very
         2          (Exhibit 647 marked for identification.)                   2 important provision.
         3     Q. (By Mr. Nemelka) Mr. Brockman, I've handed you               3     Q. (By Mr. Nemelka) And -- and what --
         4 Plaintiffs Exhibit 647, which is the data exchange                  4           MS. GULLEY: Objection.
         5 agreement between CDK and Reynolds. And the first thing             5     Q. (By Mr. Nemelka) What did you agree to there?
         6 I'm going to do is point you to where you -- you --                 6           MS. GULLEY: I'm sorry. Were you finished
         7 first of all, you signed this agreement, right, on                  7 answering the last question?
         8 behalf of Reynolds?                                                 8         THE WITNESS: Would you please repeat the
         9           MS. GULLEY: Objection; form.                              9 last question?
        10     A. Yes, I did.                                                 10     Q. (By Mr. Nemelka) My question is -- is --
        11     Q. (By Mr. Nemelka) So let's go there. This is                 11 was -- was: Did you see that? You said, "Yes." So my
        12 on Page -- on Page 11 of 13. 11 of 13, do you see that,            12 que- -- my pending question is: What did you agree to
        13 Mr. Brockman, your signature there?                                13 there with CDK?
        14     A. Yes.                                                        14           MS. GULLEY: Objection; form. He was not
        15     Q. Dated February 18, 2015?                                    15 done answering the last question before that.
        16     A. That's correct.                                             16     A. Okay. What --what's at work here is -- and
        17     Q. And do you typically read contracts before you              17 that's that as a result of the, you know, the
        18 sign them?                                                         18 stand-down, you know,that -- to accomplish that, would
        19           MS. GULLEY: Objection; form.                             19 require, you know, knowledge of how access is gained
        20     A. Umm,it depends. In this particular case, I                  20 to a dealership system. And so what we're doing is --
        21 did not read this one extensively. I felt that the --              21 and that's we're -- we're jointly agreeing with each
        22 you know, this particular issue had -- or, you know, a             22 other that we will not turn loose any kind of knowledge
        23 stand-down had -- had been, you know, worked on,                   23 or technology that enables somebody to do that.
        24 negotiated at length. And this one, I was ready to get             24     Q. All right. And then the next sentence is, "For
        25 done. And so I was -- I had already made up my mind not            25 the avoidance of doubt, this Section 4.5 is not intended

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         1 as a 'covenant not to compete, but rather as a                   1     Q. (By Mr. Nemelka) Please finish reading the
         2 contractual restriction of access and attempted access           2 entire title of 4.5, Mr. Brockman.
         3 intended to protect the operational and data security            3           MS. GULLEY: Objection; form. Just give me
         4 integrity of the Reynolds DMS and the CDK DMS and                4 a chance to object, Mr. Brockman.
         5 protection of intellectual property."                            5     A. It says "Prohibition on Knowledge Transfer and
         6           And so my question is: It was a                        6 DMS Access."
         7 contractual restriction of access that CDK and Reynolds          7     Q. (By Mr. Nemelka) All right.
         8 agreed to, right?                                                8     A. And -- and you know, what -- what it's intended
         9           MS. GULLEY: Objection; form.                           9 to mean is -- and that's that each party is going to
        10     A. Well, okay. I'm not -- I'm not -- I'm not                10 have access to intellectual property of the other and
        1 1 seeing that here. What -- what's intended here is --           1 1 that we're both jointly, you know, agreeing not to
        12 and that's that --you know, what's happening is -- and          12 disclose that. But, you know, it's not intended to be a
        13 that's that, you know, we're going to gain knowledge            13 covenant not to compete. It's -- it's simply an issue
        14 about how to get -- how to get into our systems, and            14 of intellectual property.
        15 they're going to get some knowledge about how to get            15     Q. After covenant not to pete --compete, it
        16 into ours, okay? We're agreeing not to disseminate that         16 doesn't say it's simply an issue of intellectual
        17 knowledge, okay?                                                17 property, does it?
        18           And what we're further saying is -- is                18           MS. GULLEY: Objection; form.
        19 look, you know, this is an IP protection provision. It          19     A. Yeah, I -- I think the 4.5 heading, you know,
        20 is not intended as a covenant not to compete, you know.         20 goes a long ways towards accomplishing that.
        21 We're going to compete. But we're not going to -- we're         21     Q. (By Mr. Nemelka) 4.5 heading says "Prohibition
        22 not going to share, you know,the IP to other third              22 of Knowledge Transfer and DMS Access"; correct?
        23 parties or fourth parties, you know, as a result of --          23           MS. GULLEY: Objection; form.
        24 of this agreement.                                              24     A. I believe that -- I believe that that's all one
        25     Q. (By Mr. Nemelka) Now, you just saw a document            25 issue. It's not two separate issues.

                                                              Page 115                                                                 Page 117
         1 where Mr. Schaefer said to you that -- and you testified         1     Q. (By Mr. Nemelka) Prohibition on DMS access?
         2 that Reynolds wanted CDK to agree to never access the            2           MS. GULLEY: Objection; form.
         3 Reynolds DMS again, right?                                       3     A. I believe it's prohibition on knowledge
         4           MS. GULLEY: Objection; form.                           4 transfer. Yeah, that's what it's all about.
         5           MR.RYAN: Do you have an exhibit number?                5     Q. (By Mr. Nemelka) But there's an "and" there,
         6     A. There -- there -- that provision did not make             6 isn't there?
         7 it into the final agreement, I don't believe.                    7           MS. GULLEY: Objection; form.
         8     Q. (By Mr. Nemelka) So what is this contractual              8     A. I'm sorry. I have to plead a little bit that
         9 restriction of access that we're looking at here in 4.5?         9 I'm not a lawyer like you are, and -- and, you know,
        10           MS. GULLEY: Objection; form.                          10 this document has got lots of words in it. And I do not
        11     A. It is not restriction of access. It's                    1 1 believe that that was the intent of the drafter.
        12 restriction of the -- not to disseminate knowledge about        12     Q. (By Mr. Nemelka) Even though -- well, if we go
        13 how to access.                                                  13 back to the document where -- well, this is -- what you
        14     Q. (By Mr. Nemelka) Mr. Brockman, it says --                14 testified is that CDK agreed not to access for five
        15     A. It was --                                                15 years. It was just the "forever" part that they didn't
        16     Q. -- "contractual restriction of access and                16 agree to, right?
        17 attempted access." Correct?                                     17           MS. GULLEY: Objection; form. What's the
        18           MS. GULLEY: Objection; form.                          18 exhibit, as Mr. Ryan asked a while back.
        19     A. But --but if you look at the heading for 4.5,            19           MR.NEMELKA: 646.
        20 it's "Provision on Knowledge Transfer" --                       20     Q. (By Mr. Nemelka) I'm reminding Mr. Brockman of
        21     Q. Finish reading the --the --                              21 his testimony.
        22           MS. GULLEY: Objection; form.                          22           MS. GULLEY: Objection. That is not
        23     A. -- "and DMS Access."                                     23 correct. Objection to that statement.
        24           MR. NEMELKA: Let -- let me finish my                  24     Q. (By Mr. Nemelka) It says here, that we just
        25 question.                                                       25 saw,"We have added" -- as we've -- as we've already

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         1 done,"We have added after the 5 years they cannot                       stand-down worked. You know,they, in fact, you know,
         2 access the system on behalf of any 3rd party forever." 2 got out of our systems. They quit -- they quit hacking
         3 Do you recall that?                                                 3 them, you know. They quit -- quit being bandits. They
         4            MS. GULLEY: Objection; form.                             4 got out.
         5      A. That -- that's what it says. That's what we're              5            And we accomplished the transition such
         6 asking for. We did not get that provision.                          6 that none of -- none of our mutual customers -- the
         7      Q. (By Mr. Nemelka) Are you aware of how long 7 dealerships that are our mutual customers, where we got
         8 Section 4.5 lasts?                                                  8 the DMS but, you know, they've got a third party that's
         9            MS. GULLEY: Objection; form.                             9 been doing something else -- nobody got mad. Nobody
        10      A. Again, I'll confess that I'm not an attorney               10 got -- I didn't get any letters. I didn't get any angry
        1 1 and I -- you know, as far as the duration of provisions 1 1 phone calls. So, you know, whatever this document is
        12 I don't know what it says.                                         12 and whatever shortcomings it might have, it worked.
        13      Q. (By Mr. Nemelka) All right. Let's go to                    13            MR. NEMELK A: We can take lunch.
        14 Section 6.1 of the agreement. Are you there with me? 14                          MS. GULLEY: Let's go off the record.
        15 6.1?                                                               15            THE VIDEOGRAPHER: The time is 12:38 p.m.
        16      A. I'm sorry. I thought I was.                                16 We're offthe record.
        17      Q. Are you there with me?                                     17           (Short recess 12:38 to 1:42 p.m.)
        18      A. Yes.                                                       18            THE VIDEOGRAPHER: The time is 1:42 p.m.
        19      Q. "With the exception of the obligations set                 19 We're back from lunch and we're back on the record.
        20 forth in Sections 4.5" -- that was the section we were 20                         EXAMINATION (Continuing)
        21 just looking at, right, Mr. Brockman?                              21 BY MR. NEMELKA:
        22            MS. GULLEY: Objection; form.                            22     Q. Good afternoon, Mr. Brockman.
        23    Q. (By Mr. Nemelka) 4.5 is the section we were                  23     A. I'm sorry we don't have a prettier day for
        24 just looking at; correct?                                          24 you-all.
        25            MS. GULLEY: Form.                                       25     Q. It's still beautiful views.

                                                                   Page 119                                                                Page 121
         1     A. Yes. "Prohibition of Knowledge Transfer."                    1     A. It has been really pretty.
         2     Q. (By Mr. Nemelka) "And DMS Access." I know you                2     Q. So after Reynolds and CDK concluded the -- the
         3 want to leave offthe last part. But it says "and DMS                3 wind-down agreement, Reynolds then did release those
         4 access"; correct?                                                   4 security enhancements that it had been holding off on;
         5           MS. GULLEY: Objection; form.                              5 correct?
         6           MR. RYAN: Object to form.                                 6            MS. GULLEY: Form.
         7           MS. GULLEY: And move to strike the                        7     A. I'm not personally aware, but that's my --
         8 instruction.                                                        8 that's my belief.
         9     Q. (By Mr. Nemelka) "With the exception of the                  9     Q. (By Mr. Nemelka) And after the agreement,
        10 obligations set forth in Sections 4.5" -- and it even              10 Reynolds protected the user IDs that CDK was using to
        1 1 identifies it as "[Prohibition on Knowledge Transfer and          1 1 access the Reynolds system; is that right?
        1/ DMS Access]...this Agreement shall terminate at the end            12            MS. GULLEY: Objection; form.
        13 of the Wind Down Period."                                          13     A. That was part of the stand-down agreement, and
        14           MS. GULLEY: Objection.                                   14 it's my understanding that's now all over.
        15     Q. (By Mr. Nemelka) So --                                      15     Q. (By Mr. Nemelka) So the security enhancements
        16     A. I see what you're saying, but I've got to                   16 did not affect CDK's access to the sys- --to the
        17 reiterate again, okay? It's been a long war with ADP.              17 Reynolds system, right?
        18 The long war is -- has finally settled, okay? I heave a            18            MS. GULLEY: Form.
        19 sigh of relief. My guys, their guys, our attorneys,                19     A. That's correct. The whole goal of -- of the
        20 their attorneys, they build this document. It comes to             20 stand-down agreement was to provide for an orderly
        21 me for signature. And I said,"My God, I'm -- I'm                   21 stand-down, and that -- and that meant enabling their
        22 happy -- I'm happy to sign this damn thing and have it             22 customers to operate without issue during the stand-down
        23 off the list." You know, I did not read it, certainly              23 period.
        24 not at the level of detail that you're talking about.              24     Q. (By Mr. Nemelka) But those security
        25           You know,I would further support that the                25 enhancements did affect Authenticom, right?

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         1           MS. GULLEY: Objection; form.                              1 did I say? Schaefer?
         2     A. I -- I'm not aware.                                          2    Q. (By Mr. Nemelka) Mr. Brockman, I've handed you
         3     Q. (By Mr. Nemelka) They were intended to, right?               3 Plaintiffs Exhibit 648. And the email I'm focusing on
         4           MS. GULLEY: Objection; form.                              4 is your email dated Thursday, May 7th, 2015 to Agan,
         5     A. No. Again, our security enhancements are --                  5 where you write,"The logic has shifted somewhat due to
         6 are not specifically aimed at any individual entity.                6 us getting the CDK RCI business (and soon to get
         7 The problem is, we can't, because when we see things                7 Authenticomas [sic] well)." Do you see where you wrote
         8 happening, people coming into our system, we don't know             8 that?
         9 who they are and -- and we can't track who they are.                9            MS. GULLEY: Form.
        10 And therefore, unless they have put in their user ID,              10    A. Yes, I do.
        1 1 something that identifies them, we don't know who they            11    Q. (By Mr. Nemelka) And then you wrote,"A deal
        12 are.                                                               12 with numbers of dealerships will have a number of
        13     Q. (By Mr. Nemelka) After you entered into this                1 3 additional RCI 3rd parties where we get that revenue if
        14 agreement with CDK, you started to approve some --                 14 we have those dealership's DMS systems." Do you see
        15 strike that.                                                       15 that?
        16           After you entered into the agreement with                16            MS. GULLEY: Form.
        17 CDK, you believed that the logic had shifted somewhat              17    A. Yes, I do.
        18 with respect to pricing that you offered dealers who               18    Q. (By Mr. Nemelka) So the logic had shifted a
        19 were coming on board, right?                                       19 little bit, because now you're going to be getting the
        20           MS. GULLEY: Objection; form.                             20 additional RCI revenue if the dealers are using your
        21     A. I -- I disagree with that. I think that our --              21 DMS,right?
        22 our position, as far as negotiating the discounts and              22            MS. GULLEY: Objection; form.
        23 whatever raised all the time. And it depends a lot on              23    A. I don't think this has anything to do with the
        24 the overall macroeconomic situation that we're facing              24 percentage discounts on deals. This is obviously
        25 nationwide or, specifically, what the -- the certain               25 talking about customers.

                                                                   Page 123                                                   Page 125
         1 states, certain market areas go through periods of                  1     Q. (By Mr. Nemelka) Right. DMS customers;
         2 tougher times, discounting various -- all over the                  2 correct?
         3 point.                                                              3     A. Yes.
         4     Q. (By Mr. Nemelka) The logic had shifted                       4     Q. If you turn to the next page, I believe that
         5 somewhat due to you getting the CDK RCI business, right?            5 Mr. Agan is asking you for your approval at the bottom.
         6           MS. GULLEY: Form.                                         6 "Are you okay with a 55.38% discount?"
         7     A. I don't believe that's the case at all. I                    7            MS. GULLEY: Form.
         8 think that -- since I'm the one that's personally in                8     Q. (By Mr. Nemelka) Do you see where he says
         9 charge of -- of approving this percentage discounts,                9 that?
        10 they're part of the market conditions. The -- our                  10     A. I see that --
        1 1 competitors go through cycles. If you can watch, for              11            MS. GULLEY: Objection; form.
        1/ instance, CDK      CDK in the month or two before their            1/     A. --but I'm -- I'm reading the rest of it to see
        13 year-end -- their fiscal year-end, they'll be much more            13 what, in context, that's all about. Could you repeat
        14 aggressive in discounting.                                         14 your question, please?
        15           Other competitors have other, you know,                  15     Q. (By Mr. Nemelka) Sure. Mr. Agan asked you if
        16 closing of sales quota deadlines. And they get really              16 you would approve of 55.38 percent discount for this
        17 aggressive just before the deadline, because they're               17 dealer that you were trying to sign; correct?
        18 trying to, you know, meet their quotas so they get their           18            MS. GULLEY: Form.
        19 bonuses. And that's the drivers behind percentage                  19     A. That's correct.
        20 discounts.                                                         20     Q. (By Mr. Nemelka) You approved it, because the
        21          (Exhibit 648 marked for identification?)                  21 logic had shifted somewhat, due to you getting the CDK
        22     Q. Mr. Schaefer, I've handed you Plaintiffs                    22 RCI business and Authenticom's as well, right?
        23 Exhibit 648 --                                                     23            MS. GULLEY: Objection; form.
        24           MS. GULLEY: Brockman.                                    24     A. I think I've already, you know, said that those
        25           MR. NEMELKA: Sony. Mr. Brockman. What                    25 two sentences you said, that I see them.

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         1     Q. (By Mr. Nemelka) Okay. Your contract with                     1      Q. (By Mr. Nemelka) You wrote that; correct?
         2 CDK -- you can set that aside Mr. Brockman -- your                   2           MS. GULLEY: Form.
         3 contract with CDK required Reynolds to take over all of              3      A. Yes, I did. But I think that that was at -- at
         4 CDK's existing third-party relationships, regardless of              4 a point in time that that's not been our policy ongoing,
         5 size; isn't that right?                                              5 regardless of size -- to take people -- take customers
         6           MS. GULLEY: Form.                                          6 that are -- regardless of size. You can look at our --
         7     A. Third-party relationships where they were, you                7 our customer base, you know, we're predominantly larger
         8 know, hacking our systems, that's when I was talking                     dealerships.
         9 about.                                                               9      Q. (By Mr. Nemelka) Authenticom customers are
        10     Q. (By Mr. Nemelka) "Third parties," meaning the                10 the -- are not dealerships. They're -- they're yen- --
        1 1 vendors to whom CDK was providing Reynolds dealer data, 1 1 they're vendors, right?
        12 right?                                                              12           MS. GULLEY: Form.
        13           MS. GULLEY: Form.                                         13      Q. (By Mr. Nemelka) Well, they're both, but the
        14     A. Yes, that's correct.                                         14 customers you're talking about here are the vendors that
        15     Q. (By Mr. Nemelka) You also wanted to take every               15 need access to dealer data, right?
        16 Authenticom customer that came to you, regardless of                16           MS. GULLEY: Form.
        17 size; correct?                                                      17      A. Yeah, but I think the -- certainly, you know,
        18           MS. GULLEY: Objection; form.                              18 those types of customers vary greatly in size as well.
        19     A. I -- I don't think that's correct.                           19      Q. (By Mr. Nemelka) And so if-- if a vendor is
        20           (Exhibit 649 was marked for                               20 small and doesn't serve that many dealers, you're not
        21            identification.)                                         21 interested in -- in serving them, then?
        22     Q. (By Mr. Nemelka) I've handed you what I've                   22           MS. GULLEY: Form.
        23 marked as Plaintiffs Exhibit 649, which is an email                 23      A. It's a matter of priority. We have, you know,
        24 chain between you and Tommy Barras and Bob Schaefer.                24 great development resources, but all development
        25 And the email I want to focus on, Mr. Brockman, is the              25 resources are not without limit. And therefore, from

                                                                    Page 127                                                               Page 129
         1 one that you sent on Friday, August 21st, 2015, at the               1 time to time, we get really busy and we get really
         2 bottom, to Tommy Barras, where you write,"We also want               2 behind. And therefore, our -- our appetite for, you
         3 to take every Authenticom customer that comes to us,                 3 know, small situations, you know, varies.
         4 regardless of size." It's at the bottom of that page.                4     Q. (By Mr. Nemelka) In fact, after this agreement
         5 Do you see that?                                                     5 with CDK, you had a lot of-- a lot of work to bring on
         6           MS. GITUX: Objection; form.                                6 all ofthe former CDK customers into the RCI program,
         7     A. I think what's going on here is in -- as the --               7 right?
         8 our agreement with CDK requires us to take over all                  8           MS. GULLEY: Objection; form.
         9 their existing third-party relationships. That's an                  9     A. That's correct.
        10 integral part of this stand-down.                                   10     Q. (By Mr. Nemelka) You wrote that you had a
        11           Generally speaking, you know, we're not                   1 1 mountain of work ahead of you, with over 100 RCI
        1/ interested in just anything, as far as size is                      1/ customers to convert, right?
        13 concerned. You know, small dealers are not, you know,               13           MS. GULLEY: Form.
        14 what our target market is. You know, we're --we live                14     A. I believe at one point in time, that I -- I
        15 more in the larger dealer -- or larger group                        15 made that statement because that was the case.
        16 marketplace. And so therefore, you know, the comments               16     Q. (By Mr. Nemelka) And by mid-2017, two years
        17 as far as Authenticom is concerned, you know,they all               17 later, Reynolds had successfully converted many of those
        18 relate to size more than anything else.                             18 former CDK vendors into the RCI program, right?
        19     Q. (By Mr. Nemelka) You wrote here,"We also want                19           MS. GULLEY: Form.
        20 to take every Authenticom customer that comes to us,                20     A. I'm not sure about that specific date. But I
        21 regardless of size"; correct?                                       21 do know we made steady progress and...(Pause.)
        22           MS. GULLEY: Objection; form.                              22           (Exhibit 650 was marked for
        23     Q. (By Mr. Nemelka) Very bottom, last -- the last               23 identification.)
        24 thing on the page.                                                  24     Q. (By Mr. Nemelka) I've handed you Plaintiffs
        25           MS. GULLEY: Objection; form.                              25 Exhibit 650, which is an email from Tommy Barras to you,

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         1 dated Friday. July 7th, 2017. Who is Tommy Barras?               1 made that request. You wanted to know how much
         2            MS. GULLEY: Form.                                     2 Reynolds -- how much --the amount of revenue that
         3    A. Tommy Barras is head of our -- our software                3 Reynolds was supposed to realize out ofthe deal, right?
         4 group.                                                           4            MS. GULLEY: Objection; form.
         5    Q. (By Mr. Nemelka) And he wrote to you about CDK             5     A. That's correct. We -- we had -- as I think
         6 vendors that moved into the RCI program, right?                  6 we've -- before lunch, I talked about the fact that we
         7    A. That's correct.                                            7 had -- CDK had cost us a lot of-- a lot. And, you
         8    Q. And he writes, "Bob, In 2015 you challenged                8 know, we were hoping to make back these, you know,
         9 DEV" -- what is DEV, a development?                              9 third-party vendors coming directly to us through the
        10    A. Development.                                              10 RCI program as opposed to going through CDK. That was
        11    Q. Software development?                                     1 1 our way to ultimately dig out ofthe hole, you know,
        12    A. Yes.                                                      12 from a -- a money standpoint that we had been put
        13    Q.    -- "and DSV" -- is that data services?                 1 3 through hy CDK.
        14    A. That's correct.                                           14     Q. (By Mr. Nemelka) You testified earlier they
        15    Q. -- "(Schaefer) with absorbing 157 CDK vendors             15 cost you millions in this form of-- market -- market
        16 into the RCI program." Do you see that?                         16 messaging about data security and losing dealer
        17    A. That's correct.                                           17 customers, right?
        18    Q. Now,these are not vendors that CDK owned.                 18     A. It's cust- --
        19 These are former CDK customers, right?                          19            MS. GULLEY: Objection; form.
        20            MS. GULLEY: Form.                                    20           You just have to let him finish his
        21    A. That's correct. These -- these are companies              21 question and then you can answer.
        22 that had been employing CDK to enter our system as, you         22     A. That consists of the revenue we lost by
        23 know, hackers.                                                  23 customers that we should have been able to sell but
        24    Q. (By Mr. Nemelka) And as part of the wind-down,            24 couldn't sell, or customers -- which was the -- the more
        25 CDK worked with you to transition those customers to            25 minor group, customers that actually left us because

                                                            Page 131                                                                  Page 133
         1 Reynolds so that they could join the RCI program;                1 of-- because of security.
         2 correct?                                                         2     Q. (By Mr. Nemelka) And those customers you're
         3            MS. GULLEY: Objection; form.                          3 referring to are the dealers, not --
         4    A. That's correct.                                            4     A. That's right.
         5    Q. (By Mr. Nemelka) And it was CDK's access to                5            MS. GULLEY: Objection; form.
         6 the Reynolds system on behalf ofthose customers that             6            Just --just -- for the court reporter and
         7 you protected during that five-year wind-down period,            7 for the record, he'll ask his question and then you
         8 correct?                                                         8 answer.
         9            MS. GULLEY: Objection; form.                          9            MR.NEMELKA: We're doing okay, but --
        10    A. That's correct.                                           10     Q. (By Mr. Nemelka) And -- excuse me -- your team
        11    Q. (By Mr. Nemelka) You asked Mr. Schaefer to                1 1 did calculate the val- -- the amount of revenue that
        1/ calculate the amount of revenue that Reynolds was               12 Reynolds was supposed to realize out ofthe CDK deal,
        13 supposed to realize out of this agreement with CDK,             13 right?
        14 right?                                                          14            MS. GULLEY: Form.
        15            MS. GULLEY: Objection; form.                         15     A. I see that you're referring to documents that
        16    A. I don't know that I asked that specifically of            16 I'm not -- I'm not having the opportunity to look at.
        17 Bob Schaefer.                                                   17     Q. (By Mr. Nemelka) Well, I'm just wondering --
        18    Q. (By Mr. Nemelka) You asked --you asked                    18 you remember if you made this request, and your team did
        19 somebody on -- on your team to calculate the amount of          19 actually make that calculation; correct?
        20 revenue that Reynolds was supposed to realize out of the        20            MS. GULLEY: Objection; form.
        21 CDK deal, right?                                                21     A. Yes, I believe they did. It looks like -- if
        22            MS. GULLEY: Objection; form.                         22 that's what you're looking at. It's not being shared
        23    A. I don't recall who that was, but it may well              23 with me, which -- which I find, you know, a little
        24 have -- it may well have occurred.                              24 unusual.
        25    Q. (By Mr. Nemelka) Regardless of who it was, you            25     Q. (By Mr. Nemelka) All right. I'm just trying

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         1 to get -- get through this efficiently. I'm not trying               1           MS. GULLEY: Objection; form.
         2 to do anything else.                                                 2     A. -- in 10 to 12 years, we might break out.
         3           MS. GULLEY: Objection to the statement.                    3     Q. (By Mr. Nemelka) What do you mean by that?
         4     Q. (By Mr. Nemelka) Okay. Well, then, let's do                   4           MS. GULLEY: Form.
         5                                                                      5     A. Well, as -- as I've stated before, CDK's
         6           MR. NEMELKA: 69.                                           6 position, as far as hacking our customers, has cost us
         7           (Exhibit 651 was marked for                                7 millions. And, you know, based upon this amount of
         8            identification.)                                          8 money, we got a ways to go.
         9     Q. (By Mr. Nemelka) I truly am only going to show                9     Q. (By Mr. Nemelka) The annual revenue, though,
        10 you that one part about the -- this is a big, long                  10 is 30 million, that they calculated, correct?
        1 1 document -- I'm only going to show you -- or ask you               11           MS. GULLEY: Objection; form.
        12 about the part that we just talked about, which is the              12     A. That's what it says.
        13 team calculating the value of the CDK deal with you. If             13     Q. (By Mr. Nemelka) And that includes added
        14 you intend on reading this whole thing, then I'll just              14 interfaces, which means additional RCI customers, right?
        15 skip. So I'm --                                                     15           MS. GULLEY: Form.
        16           THE WITNESS: What's that about?                           16     A. No. I don't think that -- "additional
        17           MS. GULLEY: I object to everything you                    17 interfaces" means additional datasets that third parties
        18 just said: Statements, instructions, et cetera. But                 18 would want out of Reynolds systems.
        19 first of all, can you at least hand it to him?                      19     Q. (By Mr. Nemelka) That they were getting from
        20     Q. (By Mr. Netnelka) I'd like to mark Exhibit --                20 CDK before?
        21 Plaintiffs Exhibit 651, which is an email from Craig                21           MS. GULLEY: Form.
        22 Moss to you, Mr. Brockman, dated Friday, August 25th,               22     A. No. It's kind of like pitter-patter, like the
        23 2017, the subject being "July 2017 Financials." Do you              23 rain. Either OEMs or various third parties want more
        24 see that that's the subject, at least, of this?                     24 data or different types of data, and it's not related to
        25           MS. GULLEY: Form.                                         25 the -- the stand-down agreement at all. It's just part

                                                                    Page 135                                                              Page 137
         1     Q. (By Mr. Nemelka) Mr. Brockman?                                1 of their, you know, their desire for more data.
         2          MS. GULLEY: Form.                                           2     Q. (By Mr. Nemelka) And now that they're
         3     A. If I can just kind of leaf through what --what                3 customers of Reynolds, you get the financial benefit of
         4 this... (Pause.)                                                     4 that; correct?
         5           This appears to be part of our confidential                5           MS. GULLEY: Form.
         6 internal financial information. And so, therefore, it's              6     A. That's correct.
         7 okay that I don't have to read every page of it.                     7     Q. (By Mr. Nemelka) I skipped one. "Plus
         8     Q. (By Mr. Nemelka) Thank you. So you received                   8 additional dealers," meaning -- what -- what does that
         9 monthly financials like this from Mr. Moss?                          9 mean?
        10           MS. GULLEY: Form.                                         10           MS. GULLEY: Objection; form.
        11     A. They're not financial statements. They're                    11     A. Well, what I believe that means is -- and
        1/ management reports concerning the finances. That's the              1/ that's that there's constant movement as far as
        13 technically accurate description.                                   13 ownership of dealerships. And if we have a group that
        14     Q. (By Mr. Nemelka) And this is one from July                   14 has dealerships in it and they're all on Reynolds, if
        15 2017, that you received?                                            15 that dealer buys another dealer, so they -- he now has
        16           MS. GULLEY: Form.                                         16 11, what's going to happen is -- and that's if that
        17     A. Yes.                                                         17 dealer is not already on Reynolds --he's going to
        18     Q. (By Mr. Nemelka) And if you could turn with me               18 convert to Reynolds, likely, and vice versa.
        19 to Page 17. There you are. On the bottom-highlighted                19           If there's a group of-- of ten
        20 part, which is how it was produced to us -- you see the             20 dealerships, all of which are on CDK,and they buy
        21 bottom-highlighted part that says,"We are expecting an              21 another dealership that's on Reynolds, you know,the
        22 annual revenue of approximately $30 million (original               22 odds are very, very, very high that that dealership will
        23 $21M, plus additional dealers, added interfaces and                 23 be converted to CDK. And all that has some impact on
        24 price increases, etc) generated from the CDK Deal."                 24 what's going on in the world.
        25     A. Yeah, that means that --                                     25     Q. (By Mr. Nemelka) And then you list price,

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         1 here -- what is listed here is price increases. So                 1     Q. (By Mr. Nemelka) CDK doesn't badmouth your
         2 price increases for -- for DMS and RCI?                            2 data access policies anymore, does it?
         3           MS. GULLEY: Objection; form.                             3           MS. GULLEY: Objection; form.
         4     A. Ifs just-- its part of our standard                         4     A. It's not been as prevalent as it was before.
         5 pricing-based process.                                             5     Q. (By Mr. Nemelka) That badmouthing large- --
         6     Q. (By Mr. Nemelka) But the price increases here               6 largely stopped after you entered into this agreement
         7 would have referred to price increases for DMS,right?              7 with them, right?
         8           MS. GULLEY: Objection; form.                             8           MS. GULLEY: Objection; form.
         9     A. Our price increase policy covers all -- all                 9     A. Again, I have no way of measuring that.
        10 products, you know, all services.                                 10     Q. (By Mr. Nemelka) It wasn't just CDK and
        11     Q. (By Mr. Nemelka) What is your price increase               1 1 Authenticom that you wanted to get -- get rid of. You
        12 policy?                                                           12 wanted to get rid of all independent data integrators
        13           MS. GULLEY: Objection; form.                            13 that dealers were using for automated access to the
        14     A. It is --you know, typically CPI plus 2, which              14 Reynolds -- Reynolds system; correct?
        15 represents the normal rate of CPI plus those things that          15           MR.RYAN: Object to form.
        16 cost us extra, because were in the high tech business.            16     A. I -- I definitely want to eliminate, you know,
        17 Principally, salaries.                                            17 completely, you know, all automated access to Reynolds
        18     Q. (By Mr. Nemelka) So you -- so for your DMS                 18 systems. It's -- it is a classic security breach.
        19 business, your standard price increases every year is             19     Q. (By Mr. Nemelka) Could Reynolds -- could CDK
        20 CPI plus 2 percent?                                               20 access your system today with their independent
        21     A. That's correct.                                            21 integrators?
        22           MS. GULLEY: Form.                                       22           MS. GULLEY: Objection; form.
        23     Q. (By Mr. Nemelka) And for -- okay.                          23           MR.RYAN: Objection; form.
        24           And this 30 million is an annual number,                24     A. When you say "independent integrators," I don't
        25 it's not -- you said over 10 to 12 years. That --that             25 recognize that term.

                                                              Page 139                                                                    Page 141
         1 30 million is not over 10 to 12 years. That 30 million             1     Q. (By Mr. Nemelka) Meaning DMI and Integra
         2 is an annual number, right?                                        2 Link!.
         3     A. That's not what I meant at all. When I say                  3           MS. GULLEY: Objection; form.
         4 that CDK has cost us in the millions, I'm not talking              4     A. The people -- the guys that are in the hacking
         5 about the 30 or 40 or 50 million, I'm talking in the               5 business, the bandits?
         6 hundreds of millions, over time. And, you know, so it              6     Q. (By Mr. Nemelka) Yeah.
         7 takes a while before $30 million worth of revenue out of           7     A. Yeah, I don't know. As I've said before, you
         8 this particular situation even begins to make up for               8 know, security is a cat-and-mouse game, and it could
         9 what they've done.                                                 9 well be that they, you know,figured out some new way,
        10     Q. You said 10 to 12 years, so 30 times 10, about             10 and it's --where I -- it's not discernible to us who it
        1 1 300 to $360 million9                                             1 1 actually is. It could be in there today and --
        12     A. Absolutely.                                                1/ because that's the nature of it, of-- of the situation.
        13           MS. GULLEY: Objection; form.                            13           You know, somebody on the outside figures
        14     A. Absolutely.                                                14 out a new way to come in. We don't know who it is. You
        15     Q. (By Mr. Nemelka) Is what CDK cost you as a                 15 know, we figure out how to block it. You know, the only
        16 result of them --their data access on the Reynolds                16 way we know for sure, you know, was when somebody
        17 system?                                                           17 squawks.
        18     A. Yeah, and the fact that they badmouthed, you               18     Q. One of the independent integrators was
        19 know, our process, I think, unjustifiably. And they --            19 StoneEagle; correct?
        20 and they did that, you know, high and wide, you know,in           20           MS. GULLEY: Objection; form.
        21 the -- in the market.                                             21     A. Yes.
        22     Q. Badmouthing your data access policies in the               22     Q. (By Mr. Nemelka) I've handed you Plaintiffs
        23 market; is that right?                                            23 Exhibit 652.
        24           MS. GULLEY: Objection; form.                            24          (Exhibit 652 was marked for
        25     A. That's correct.                                            25           identification.)

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         1      Q. (By Mr. Nemelka) This is an email from you to             1 was their method. They -- they were doing it all on
         2   Mr. Schaefer, dated April 14, 2016. And your question           2 their own. You know, this indicates, you know, what
         3   is: "Bob, When do we get rid of StoneEagle?" And                3 I've been saying all along. We were very, very
         4   that's referring to not allowing them to access dealer          4 frustrated by these people. And I think this one line
         5   data on the Reynolds DMS anymore, right?                        5 here, which says, "I think its 2 years now we've been
         6          MS. GULLEY: Objection; form.                             6 strung out          "-- we were not happy.
         7     A. That -- that's correct. We are -- we are now,              7    Q. Mr. Brockman, in 2015, you asked Mr. Schaefer
         8 finally-- you know, StoneEagle has joined the RCI                 8 about -- questions about the state of affairs before
         9 program, and they had to make a -- a number of changes            9 Authenticom got cut -- got shut off. You wanted to know
        10 in their software, and all that's been accomplished.             10 how many DMS providers' data does Authenticom provide
        1 1 And they're now a -- in a peaceful situation as far as          11   Reynolds. Two, and how many dealerships for each DMS
        12 we're concerned. They're -- they're in the RCI program.          12   providers was Authenticom serving Reynolds apps with?
        13 They're getting their data. They're getting their                13   Do you recall asking Mr. Schaefer to compile that
        14 business done.                                                   14   information?
        15    Q. (By Mr. Nemelka) For a while, Reynolds had                 15          MS. GULLEY: Objection; form.
        16 been protecting their access to the --to --to the                16    A. Not specifically, but I would --not be unusual
        17 system; correct?                                                 17 for me to ask that.
        18          MS. GULLEY: Objection; form.                            18              (Exhibit 654 was marked for
        19    A. It -- it is -- it is typical in the situation              19               identification.)
        20 where we have a -- a -- a party, which is doing like             20     Q. (By Mr. Nemelka) Mr. Brockman, I've handed you
        21 StoneEagle was, which is, basically, hacking in. And             21 Plaintiffs Exhibit 654, which is an email from
        22   they say,"Oh, well, we're sorry. We'll do better.              22 Mr. Schaefer to you, dated Friday, November 20th, 2015.
        23   We'll sign up for RCI." And they do, but they don't get        23 I will give you a chance to look at it, but your email
        24   it done. They -- they don't -- they don't make the             24 to him starts the chain on the back page.
        25   changes in on their side that's necessary for them to          25     A. I'm looking on the back page. If you recall,

                                                                 Page 143                                                                 Page 145
         1 access through the RCI program, and so they linger in             1 earlier today, I mentioned the term "ReminderTrax."
         2 this, you know, this -- this in-between mode. And, you            2     Q. Mm-hmm.
         3 know, of all the --the one's where that issue came up,            3     A. It's a -- it's a service reminder program for
         4 StoneEagle was the worst. And it is with a sigh of                4 dealerships, to remind their -- their customers to come
         5 relief that that's fixed, done, over with.                        5 back in and have oil changed or other routine
         6           (Exhibit 653 was marked for                             6 preventative maintenance. And T said that, you know,
         7            identification.)                                       7 that was a very minor thing that was going on, and it
         8    Q. (By Mr. Nemelka) I've handed you Plaintiffs                 8 talks -- right here, it says,"16 CDK dealers," which,
         9   Exhibit 653, which is an email from you to Mr. Schaefer,        9 in the scope of things, is -- is a very, very small
        10   dated Wednesday, April 19, 2017, where you write to            10 situation.
        11   Mr. Schaefer,"Bob, Give them written notice that we            11     Q. Mr. Sch- -- Brockman, if you look at the first
        1/   will shut down their current method of access for              12 page, though, it's identified "ReminderTrax." There's
        13   security reasons on June 1, 2017." And that referred to        13 199 CDK connections that Authenticom provides. Do you
        14 StoneEagle; correct?                                             14 see that?
        15    A. That first email doesn't say that it's                     15             MS. GULLEY: Objection; form.
        16 StoneEagle, but I believe in context with the second             16     A. Can you point that one out to me?
        17 email, it does indicate that it is StoneEagle.                   17     Q. (By Mr. Nemelka) Sure.
        18    Q. And up to the time, and for -- for several                 18     A. I'm not --
        19 years, their method of access had been protected while           19     Q. Right there (indicating).
        20 they were applying for the RCI program, right?                   20     A. Okay.
        21         MS. GULLEY: Objection; form.                             21             MS. GULLEY: Objection; form.
        22    A. That's correct.                                            77     A. Okay, I stand corrected.
        23    Q. (By Mr. Nemelka) And their method of access                23     Q. (By Mr. Nemelka) And what's listed here
        24 was -- I'm sorry, Mr. Brockman.                                  24 are the various Reynolds applications -- are the -- are
        25   A. I don't understand their method of access. It               25 the columns, MMS,AIMDATA,ReminderTrax,IMN and so

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         1 forth, right?                                                         1     Q. And you say,"What DMS provider's data does
         2            MS. GULLEY: Form.                                          2 Authenticom provide to us?" Do you see that?
         3    Q. (By Mr. Nemelka) Those are the columns?                         3     A. Yeah, but, you know, you keep referring to the
         4            MS. GULLEY: Form.                                          4 CDK line, and that's not the Authenticom line.
         5    Q. (By Mr. Nemelka) Is that right?                                 5     Q. Right. But -- but your question was: How many
         6            MS. GULLEY: Form.                                          6 dealerships are there from each DMS provider that
         7     A. Okay. Would you repeat that again?                             7 Authenticom provides you with access?
         8    Q. (By Mr. Nemelka) Sure. These datas                              8     A. Okay. But --
         9 along these -- companies along the top, MMS,AIMDATA,                  9           MS. GULLEY: Objection; form.
        10 ReminderTrax,IMN, Xtream, OnlineD and KeyTrack, those 10                    A. Okay. But the point that I'm -- I'm not -- I'm
        1 1 are Reynolds applications; correct?                                 1 1 not getting is -- is what does Authenticom have to do
        12     A. Correct.                                                      12 with the CDK line on -- on this -- on this chart? These
        13    Q. And on the left are the DMSs that dealers use;                 1 3 are -- it appears to me, that these are dealership's
        14 correct?                                                             14 data that CDK is providing to ReminderTrax. For
        15     A. Yes. Okay. I -- I understand that now.                        15 instance, that 199 number. ReminderTrax is -- is the
        16    Q. And what this is showing is the connections                    16 Reynolds application, and the 199 is -- is the
        17 that Authenticom provides to the dealers using these                 17 dealerships that -- where CDK has been --has been
        18 DMSs; correct?                                                       18 serving up -- up to that application. Authenticom is --
        19            MS. GULLEY: Objection; form.                              19 is not related to that line.
        20    Q. (By Mr. Nemelka) For -- for these various                      20     Q. (By Mr. Nemelka) Well, we can ask Mr. Schaefer
        21 applications?                                                        21 what he did here. My understanding was that he is
        22            MS. GULLEY: Objection; form.                              22 providing with you the number -- he's answering your
        23    Q. (By Mr. Nemelka) Is that correct?                              23 questions, which is: "The state of affairs before
        24            MS. GULLEY: Form.                                         24 Authenticom got cut off," "What DMS provider's data does
        25     A. For instance, if he looks at the CDK line,                    25 Authenticom provide to us?" and "How many dealerships

                                                                     Page 147                                                               Page 149
         1 that's where the 199 number is. And I -- I'm afraid I'm               1 are there from each DMS provider" for that?
         2 not getting what you're trying to get at as far as                    2          MS. GULLEY: Objection to that.
         3 this -- this chart is concerned.                                      3     A. Okay.
         4    Q. (By Mr. Nemelka) All right. Well,just --                        4            MS. GULLEY: There's no question.
         5 what Mr. Schaefer is reflecting here are the number                   5     A. I -- I understand the question. I just don't
         6 of-- he's answering your question, which is: "What DMS                6 see where that answer is -- the CDK line on the first
         7 provider's data does Authenticom provide to us? How                   7 page.
         8 many dealerships are there from each DMS provider?"                   8     Q. (By Mr. Nemelka) Okay. We'll ask Mr. Schaefer
         9 Those are the questions that you asked on the email that              9 about that. You can put that aside.
        10 we looked at, right?                                                 10            Mr. Schaefer, are you aware --
        11         MS. GULLEY: Form.                                            11            MS. GULLEY: Mr. Brockman.
        1/     A. You --you keep referring to the CDK line.                     1/            MR.NEMELKA: I'm sorry. Strike that.
        13 What's that got to do with Authenticom?                              13     Q. (By Mr. Nemelka) Mr. Brockman, are you aware
        14    Q. (By Mr. Nemelka) These are the CDK -- numbers                  14 that -- that Reynolds has an ERA DMS expiration
        15 of-- that the dealers that use CDK for whom Authenticom              15 opportunity close date list with respect to dealer
        16 is providing access to that data for these Reynolds                  16 customers?
        17 applications.                                                        17            MS. GULLEY: Objection; form.
        18            MS. GULLEY: Objection; form. Is that a                    18     A. An ERA EXT?
        19 question?                                                            19     Q. An ERA DMS expirations and opportunity close
        20            Form.                                                     20 dates.
        21    Q. (By Mr. Nemelka) If you look back at your                      21            MS. GULLEY: Objection; form.
        22 que- -- at your email, you say,"Bob, Questions on the                22     A. I'm -- I'm not familiar with any kind of
                                                                It
        23 state of affairs before Authenticom got shutoff                      23 list with that kind of nomenclature. We've got lots of
        24 Do you see that? Your email to Mr. Schaefer?                         24 lists, but...
        25     A. Yes.                                                          25     Q. (By Mr. Nemelka) All right. A list ofthose

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         1 dealers that have DMS contracts coming up for renewal               1 customer is -- is allowed to, unknowingly, kind of step
         2 within the next six months?                                         2 off into a hole where response time is going to be
         3    A. Okay. You're talking about, you know, contract                3 terrible throughout the whole system because they let
         4 expiration.                                                         4 too many things get going.
         5    Q. Yes.                                                          5          And what -- what this is -- is this
         6    A. Okay. Okay, I understand that term.                           6 typically is a battle between the accounting department
         7    Q. And Reynolds keeps a list of those dealers that               7 and the parts and service departments. Because the
         8 are coming up for renewal in six months, right?                     8 accounting department's end-of-month, they have all
         9     A. That's right.                                                9 manner of big, long, huge reports they want to run, and
        10     Q. And Reynolds has protected those dealers who                10 they can basically gobble the capacity of the -- of the
        1 1 use independent integrators like Authenticom from any             1 1 server completely so that the people in the parts
        12 type of interference with that during that six-month               12 department, when they're doing -- they're selling parts,
        13 window; correct?                                                   13 printing invoices, whatnot, service advisors are writing
        14          MS. GULLEY: Form.                                         14 repair orders and printing service invoices -- their
        15    A. I -- I think we have done some of that. I                    15 response time is terrible.
        16 don't know that policy is still in place, but I know as            16         So there is a -- a place inside the Linux
        17 part of the --the process of unwinding hacker-type kind            17 operating system where you can go and interrogate and
        18 of relationships, that what we've done is, is we've --             18 see how busy the whole system is. And syscheck, what it
        19 we've taken measures to keep the things quiet from a               19 does is in essence that it goes and checks that area,
        20 customer's standpoint while were in -- you know,                   20 you know, meter -- think of it as a meter -- checks that
        21 contract renewal negotiation process.                              21 meter to see how busy things are. Things are too busy,
        22    Q. (By Mr. Nemelka) And then once you close on                  22   it will not let somebody -- a user start a batch job,
        23 that contract. then you stop that dealer from using the            23   because if they do, they're going to destroy, you know,
        24 independent integrators, right?                                    24   response times for the parts department and the service
        25           MS. GULLEY: Objection; form.                             25   department. That's what syscheck is all about. It

                                                                   Page 151                                                   Page 153
         1      A. I think at that point in time, we -- we                     1 works really good.
         2 recommend more -- more strongly that they -- that they              2   Q. (By Mr. Nemelka) And you wrote that syscheck
         3 look at their -- their data security policies.                      3 would be a way that we randomly cause Authenticom some
         4    Q. (By Mr. Nemelka) After closing of the                         4 grief. How would you cause Authenticom grief through
         5 contract?                                                           5 syscheck?
         6            MS. GULLEY: Objection; form.                             6         MS. GT JLLEY: Objection; form
         7      A. It's an opportune time for that discussion to               7    A. Because the --they run batch jobs in order to,
         8 occur.                                                              8 you know, get their -- get their business done, and
         9    Q. (By Mr. Nemelka) And if they want to continue                 9 syscheck does not know that it's -- it's -- it's
        10 to use independent integrators after the closing of the            10 Authenticom doing things. All they know is that
        1 1 contract, did you -- did you let them?                            1 1 somebody is asking for a batch job and the system is
        1/           MS. GULLEY: Objection; form.                             12 already too busy.
        13     A. Not over a long period.                                     13          (Exhibit 655 was marked for
        14      Q. (By Mr. Nemelka) Mr. Brockman, what is                     14           identification.)
        15 syscheck? Syscheck, s-y-s-c-h-e-c-k?                               15     Q. (By Mr. Nemelka) I've handed you Plaintiffs
        16          MS. GULLEY: Form.                                         16 Exhibit 655, which is an email from you to Tommy Barras,
        17    A. I understand about this one. The -- the                      17 dated August 15, 2017. And the subject of the email is
        18 operating system that we use on the computers that                 18 "Great day," and he's giving you an update on exemption
        19 operate the Arrow system -- it's Linux -- and Linux has            19 numbers; correct?
        20   an interesting attribute in that -- let's say you have a         20      A. That's correct.
        21   30-user system. Linux will allow you to start running            21    Q. And these exemptions are user IDs that Reynolds
        22   30 --what we call "batch jobs." This will be, like,              22 had exempted for various data access points; correct?
        23   end-of-month, general ledger, schedules, parts ordering,         23           MS. GULLEY: Form.
        24 that sort of thing.                                                24      A. That's correct.
        25           What's happens is -- and that's that the                 25     Q. (By Mr. Nemelka) And what he says is, "Today

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         1 is a good day from the security standpoint. Number of               1 interface which is where the third party is -- is asking
         2 exemption dropped from 932 to 526 in one week." So                  2 something to be done within our software. And the
         3 as -- in August 14, 2017, you still had 932 exempt user             3 classic example of that is Xtime. You know, Xtime, in
         4 IDs, but that dropped to 527 in one week? Is that what              4 order for their software to work, they have to be able
         5 he's saying here?                                                   5 to create reservation records. And they have to be able
         6           MS. GULLEY: Form.                                         6 to look at, you know, service history.
         7     A. That's correct.                                              7           Those types of applications, since they're
         8     Q. (By Mr. Nemelka) And then, at the end he                     8 actually part of our software, in order -- you know, for
         9 writes,"Been a long road but we went from 12,000H                   9 their application to -- to work, you know, their RCI to
        10 exemptions at the beginning to just over 500 ten years             10 work, they got to keep doing it forever. As long as
        1 1 later." Do you see that?                                          1 1 Xtime does what Xtime does, you know, they have to do it
        12           MS. GULLEY: Form.                                        12 within our system.
        13     A. Yes, I do.                                                  13     Q. (By Mr. Nemelka) And what ifthey were to get
        14     Q. (By Mr. Nemelka) And then you respond, "I                   14 cut off by Reynolds? What -- what -- how would they --
        15 agree - it has been a long pull - good to get there."              15 how would they operate?
        16 Right?                                                             16           MS. GULLEY: Objection; form.
        17           MS. GULLEY: Form.                                        17     A. Well, since their --their --their stuff
        18     A. Umm .. (Pause.)                                             18 actually runs inside our software, you know, they would
        19     Q. (By Mr. Nemelka) Your email at the very top?                19 basically be unable to use our software to accomplish,
        20     A. Okay. Yes. That -- that's what it says. It                  20 you know, what they do today.
        21 has been a very long haul.                                         21     Q. (By Mr. Nemelka) You believe that the Reynolds
        22     Q. All right.                                                  22 DMS product is -- is a sticky product, right?
        23     A. A long haul. And frankly, by now -- it's now                23           MS. GULLEY: Objection; form.
        24 down -- I think it's 300 or less.                                  24     A. I don't think I've ever used that term in
        25     Q. Today?                                                      25 relationship to the DMS. I've used that -- that term in

                                                            Page 155                                                                    Page 157
         1     A. Today, uh-huh. I will not be completely happy                1 relationship to specific products. By "stickiness,"
         2 until it's zero.                                                    2 what I mean is -- is they're so advantageous to the
         3     Q. And these exemptions are the protected user                  3 dealership from a financial standpoint that they would
         4 IDs, right?                                                         4 be -- they would have to think hard about changing to
         5           MS. GULLEY: Objection; form.                              5 another DMS provider.
         6     A. That's correct.                                              6     Q. (By Mr. Nemelka) And what you're referring to
         7     Q. (By Mr. Nemelka) Mr. Brockman, you believed                  7 is the collection ofthe DMS,along with docuPAD and the
         8 that for vendors to truly make their apps work, they're             8 other applications, as you were describing, that form
         9 going to require RCI interface forever from Reynolds,               9 the -- the retail management system; correct?
        10 and the equivalent from CDK as well, right?                        10           MS. GULLEY: Objection; form.
        11           MS. GULLEY: Form.                                        11     A. That's -- that's close. Okay? That's not
        1/     A. I -- I think that would depend entirely on the              12 exactly correct, but it's pretty close.
        13 type of interface. And by that, there is -- there are              13     Q. (By Mr. Nemelka) Okay. So finish it for me.
        14 certain interfaces that are what we call "batch jobs."             14 What did I miss?
        15 And -- you know, these are situations where our                    15           MS. GULLEY: Form.
        16 reporting software will, you know, with ease, you know,            16     A. Well, we talk about stickiness in regards to
        17 create the data extracts that the dealer's looking for             17 specific products, like docuPAD,for instance. You
        18 for these types of-- of batch jobs, where they can --              18 know, we don't refer to the RMS itself as being -- which
        19 they can run that batch job, you know,themselves and               19 is the collection of everything -- as being sticky. We
        20 send it offthemselves to whoev- -- you know, we --                 20 talk about specific products.
        21 there's no restriction on that.                                    21           MS. GULLEY: Were you done with your
        22           But if they want it to be done conveniently              22 answer?
        23 and happen every day with hands off, or whatever, that's           23           THE WITNESS: Yeah.
        24 where RCI interface takes place.                                   24           MS. GULLEY: Okay.
        25           Now,there's -- there's a second type of                  25           MR. NEMELKA: I wasn't starting to ask a

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         1 question.                                                              1
                                                                        docuPAD, pays my entire bill."
         2      Q. (By Mr. Nemelka) And you believe that the          2    Q. (By Mr. Nemelka) And they have to have the
         3   value in your sticky products is so huge as to overcome  3 Reynolds DMS in order to use docuPAD; correct?
         4   any economic advantage offered by CDK and Cox in their   4    A. That's correct.
         5   offerings; correct?                                      5    Q. So that helps with the stickiness of the
         6            MS. GULLEY: Objection to the form.              6 Reynolds DMS; correct?
         7      A. I believe that statement to be correct.            7          MS. GULLEY: Objection; form.
         8      Q. (By Mr. Nemelka) Let's go off the record.          8    A. That's correct.
         9            THE VIDEOGRAPHER: This is the end of Media 9         Q. (By Mr. Nemelka) Okay. You can set that
        10   2. The time is 2:34 -- I'm sorry, 2:35 p.m. Were off    10 aside.
        11   the record.                                             11          Mr. Brockman, my last few questions are
        12            (Short recess 2:35 to 2:50 p.m.)               12 just about your -- your email accounts. You -- you've
        13            THE VIDEOGRAPHER: This is the beginning of 13 seen that we have an email account for -- for your
        14   Media 3. The time is 2:50 p.m. We're back on the        14 Reynolds business, right?
        15   record.                                                 15    A. I only have one email account, period.
        16            (Exhibit 656 was marked for                    16    Q. You don't have -- do you have any other -- do
        17             identification.)                              17 you have, like, a Gmail account?
        18      Q. (By Mr. Nemelka) Mr. Brockman, I just wanted      18    A. No.
        19   to show you the document where you made that statement 19     Q. The only email account you use is the -- is the
        20   about stickiness. It's Plaintiffs Exhibit 656.          20 single Reynolds?
        21            MS. GULLEY: 1 object to the statement.         21    A. That has all of my personal data in it.
        22      Q. (By Mr. Nemelka) This is an email that you        22    Q. And -- so all of your personal emails go
        23   sent to Keith Hill, Tuesday, November 28, 2017. Do you  23 through your -- your Reynolds email account as well?
        24   see that?                                               24    A. Yeah, I'm -- I've been planning now for several
        25            MS. GULLEY: Objection; form.                   25 months to change that, but it is -- you know, the
                                                                      Page 159                                                            Page 161
         1     A. Yeah, November 28th, 2017?                                      1 notification of senders is a big issue. And I haven't
         2     Q. (By Mr. Nemelka) Yes.                                           2 been able to find the time to bite down and get that
         3     A. Yes.                                                            3 done.
         4     Q. And the second sentence says you -- or third                    4     Q. And so do you have a doe- -- do your emails get
         5 sentence -- whatever-- second line of your email is,                   5 preserved -- that -- for your Reynolds email account?
         6 "The value in our sticky products is so huge as to                     6           MS. GULLEY: Objection; form.
         7 overcome any economic advantage offered by CDK and Cox."               7     A. They are all being preserved, at this point.
         8 Do you see that?                                                       8     Q. (By Mr. Nemelka) And were they preserved back
         9           MS. GULLEY: Objection; form.                                 9 in 2016, 2015?
        10     A. And what I'm talking about is -- and that's you                10           MS. GULLEY: Objection; form.
        1 1 take, for instance, docuPAD. Average increase in gross               11     A. My retention was somewhere between six -- six
        12 profit per sale -- per new unit sold, docuPAD,is right                12 months and a year. Now, based upon how full my
        13 at $200. If you take a -- a typical finance manager                   13 Outlook.pst file was getting -- and I get mountains of
        14 will do 70-plus transactions a month. That's $14,000 a                14 email. I mean, I spend half my life looking at email.
        15 month worth of additional gross. Now,if you got -- if                 15 And I don't smile at this, because I'm not intending it
        16 you got five finance managers, that's 14,000 times 5.                 16 to be a joke, it's real.
        17 The numbers are crazy.                                                17           In our organization, there's a lot of
        18           And that's -- the -- the stickiness issue                   18 hunting, and a lot fishing goes on. And, you know, in
        19 is --we're not, you know --no, we're not putting                      19 my organization, almost all my friends are inside the
        20 sticky stuff on people. It's -- it's the additional                   20 organization, and we're hunting and fishing buddies, and
        21 gross profit to the dealership is -- is compelling.                   21 we swap fish pictures and hunting pictures. And they're
        77           And -- and, you know, you perhaps have                      22 10 meg, and they're high res, and a good fish picture
        23 seen, you know, in Automotive News, where we run ads.                 23 deserves a really high res picture, and all that takes
        24 These are direct quotes from people that you can call on              24 up space. And so therefore, I -- I find that I have to
        25 the phone where they say, you know,"Reynolds product,                 25 go back and delete --

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                                                                  Page 162                                                                 Page 164
         1     Q. (By Mr. Nemelka) Do you have a laptop that you              1        IN THE UNITED STATES DISTRICT COURT

         2 use for business-related matters?                                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                              2                EASTERN DIVISION
         3           MS. GULLEY: Form.
                                                                              3                   )
         4     A. I just have one computer.
                                                                                   IN RE: DEALER MANAGEMENT )MDL NO. 2817
         5     Q. (By Mr. Nemelka) And is that a -- is that a
                                                                              4 SYSTEMS ANTITRUST                )
         6 laptop?                                                                 LITIGATION,              )CASE NO IR C R64
         7     A. Yes.                                                        5                   )
         8     Q. And do you download your email on to the                    6
         9 laptop?                                                            7

        10     A. Correct.                                                    8           REPORTER'S CERTIFICATION

        11     Q. And did you do that back in 2016, 2015?                     9     ORAL AND VIDEOTAPED DEPOSITION OF ROBERT BROCKMAN
                                                                             10           January 1 6,2019
        12     A. I've always done it that way.
                                                                             11                 Volume 1
        13     Q. And do you have your emails backed up -- your
                                                                             12
        14 historical emails backed up, then, on that laptop?
                                                                             13        I, SHAUNA L. BEACH, Certified Shorthand
        15     A. No. I don't. When -- when the things get                   14 Reporter in and for the State of Texas, do hereby
        16 purged, I'm -- I'm a -- still the old school. I -- I              15 certify to the following:
        17 confess, its perhaps my age; I like paper. And so                 16        That the witness, ROBERT BROCKMAN,was duly
        18 anything that's -- that's worth keeping long term is              17 sworn by the officer and that the transcript ofthe oral

        19 printed and put in a file.                                        18 deposition is a true record ofthe testimony given by
                                                                             19 the witness;
        20     Q. So you print out your emails and documents that
                                                                             20        I further certify that pursuant to FRCP Rule
        21 are worth preserving and they're put in files?
                                                                             21 30(e)(1) that the signature ofthe deponent:
        22     A. Yes.
                                                                             22         X was requested by the deponent or a party
        23     Q. Okay. Has Reynolds ever issued any external                23 before the completion ofthe deposition and is to be
        24 backup drive to either back up your -- your laptop?               24 returned within 30 days from the date ofreceipt of the
        25     A. No. They did not.                                          25 transcript. If returned, the attached Changes and

                                                                  Page 163                                                              Page 165
         1     Q. Apart from printing them out, do you print them             1    Signature Page contains any changes and the reasons
         2 out yourself or do you have your assistant print them              2    therefor;
         3 out?                                                               3                 was not requested by the deponent or a
         4     A. I do it myself                                              4    party before the completion of the deposition.
                                                                              5            I further certify that I am neither counsel
         5     Q. Are those files kept at your home or in your
                                                                              6    for, related to, nor employed by any ofthe parties or
         6 office at Reynolds?
                                                                              7    attorneys to the action in which this proceeding was
         7     A. At home.
                                                                              8    taken. Further, I am not a relative or employee of any
         8     Q. Do you use any other method, besides that
                                                                              9    attorney of record in this cause, nor am I financially
         9 printout, to back up your emails or documents?                    10    or otherwise interested in the outcome of the action.
        10     A. No.                                                        11              Subscribed and sworn to on this
        11     Q. Do you use any tablets or mobile phones?                   12           25th of January, 2019.
        12     A. I have a mobile phone.                                     13
        13     Q. Mobile phone. Any tablets?                                 14
        14     A. No.                                                        15
        15     Q. And did your attorneys provide you with a
        16 litigation hold notice?                                           16
                                                                             17                SHAUNA L. BEACH,RDR, CRR,CSR #8408
        17           MS. GULLEY: Objection; form.
                                                                                               Expiration Date: 12/3112019
        18     A. Yes, they did.
                                                                             18
        19           MR. NEMELKA: All right. I have no further
                                                                             19
        20 questions today.
                                                                             ')0
        21           MS. GULLEY: Okay. Let's go off.                         21
        22           THE VIDEOGRAPHER: This concludes today's                22
        23 proceeding for Mr. Robert Brockman. The time is 2:56              23
        24 p.m., and were off the record.                                    24
        25           (Deposition adjourned at 2:56 p.m.)                     25

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         2                   Robert Brockman                             2            Robert Brockman
         3    INSTRUCTIONS TO THE WITNESS                                3        ACKNOWLEDGMENT OF DEPONENT
         4       Please read your deposition over                       4                                           ,do
         5   carefully and make any necessary corrections.               5   hereby certify that I have read the foregoing
         6   You should state the reason in the                         6    pages and that the same is a correct
         7   appropriate space on the errata sheet for any               7 transcription of the answers given by
         8   corrections that are made.                                  8   me to the questions therein propounded,
         9       After doing so, please sign the errata                 9 except for the corrections or changes in form
        10   sheet and date it.                                         10 or substance, if any, noted in the attached
        11       You are signing same subject to the                    11   Errata Sheet.
        12 changes you have noted on the errata sheet,                  12
        13   which will be attached to your deposition.                 13
        14       It is imperative that you return the                   14 DATE                SIGNATURE
        15   original errata sheet to the deposing                      15
        16   attorney within thirty (30) days ofreceipt                 16
        17 ofthe deposition transcript by you. If you                   17
        18   fail to do so, the deposition transcript may               18
        19   be deemed to be accurate and may be used in                19
        20 court.                                                       20
        21                                                              21
        22                                                              22
        23                                                              23
        ?4 3185059                                                      24 3185059
        25                                                              25

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         2           Robert Brockman
         3           E RRATA
         4
         5   PAGE LINE        CHANGE
         6
         7   Reason:
         8
         9   Reason:
        10
        11   Reason:
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        13   Reason:
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        15   Reason:
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        17   Reason:
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        19   Reason:
        20
        21   Reason:
        22
        23   Reason:
        24 3185059
        25

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                         Federal Rules of Civil Procedure

                                      Rule 30




              ( e) Review By the Witness; Changes.

              ( 1) Review; Statement of Changes. On request by the

              d eponent or a party before the deposition is

              completed, the deponent must be allowed 30 days

              a fter being notified by the officer that the

              transcript or recording is available in which:

              (A) to review the transcript or recording; and

              (B) if there are changes in form or substance, to

              s ign a statement listing the changes and the

              r easons for making them.

              ( 2) Changes Indicated in the Officer's Certificate.

              T he officer must note in the certificate prescribed

              b y Rule 30(f) (1) whether a review was requested

              a nd, if so, must attach any changes the deponent

              m akes during the 30-day period.




              D ISCLAIMER:   THE FOREGOING FEDERAL PROCEDURE RULES

              ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

              T HE ABOVE RULES ARE CURRENT AS OF SEPTEMBER 1,

              2016.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

              O F CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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                         VERITEXT LEGAL SOLUTIONS
               COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

         Veritext Legal Solutions represents that the
         foregoing transcript is a true, correct and complete
         transcript of the colloquies, questions and answers
         as submitted by the court reporter. Veritext Legal
         Solutions further represents that the attached
         exhibits, if any, are true, correct and complete
         documents as submitted by the court reporter and/or
         attorneys in relation to this deposition and that
         the documents were processed in accordance with
         our litigation support and production standards.

         Veritext Legal Solutions is committed to maintaining
         the confidentiality of client and witness information,
         in accordance with the regulations promulgated under
         the Health Insurance Portability and Accountability
         Act (HIPAA), as amended with respect to protected
         health information and the Gramm-Leach-Bliley Act, as
         amended, with respect to Personally Identifiable
         Information (PII). Physical transcripts and exhibits
         are managed under strict facility and personnel access
         controls. Electronic files of documents are stored
         in encrypted form and are transmitted in an encrypted
         fashion to authenticated parties who are permitted to
         access the material. Our data is hosted in a Tier 4
         SSAE 16 certified facility.

         Veritext Legal Solutions complies with all federal and
         State regulations with respect to the provision of
         court reporting services, and maintains its neutrality
         and independence regardless of relationship or the
         financial outcome of any litigation. Veritext requires
         adherence to the foregoing professional and ethical
         standards from all of its subcontractors in their
         independent contractor agreements.

         Inquiries about Veritext Legal Solutions'
         confidentiality and security policies and practices
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         Associates indicated on the cover of this document or
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